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                                       UNITED STATES DISTRICT COURT

                                               DISTRICT OF OREGON


               UNITED STATES OF AMERICA,
                                                               Case No. 3:12-cv-02265-SI
                                      Plaintiff,

                       v.                                      FURTHER AMENDED SETTLEMENT
                                                               AGREEMENT
               CITY OF PORTLAND,

                                      Defendant.



                                                   INTRODUCTION

                  The United States and the City of Portland (“City”) (collectively “the Parties”) recognize that

          the vast majority of the City’s police officers are honorable law enforcement professionals who risk

          their physical safety and well-being for the public good. The Parties enter into this Agreement with

          the goal of ensuring that the Portland Police Bureau (“PPB”) delivers police services to the people

          of Portland in a manner that effectively supports officer and public safety, and complies with the

          Constitution and laws of the United States. Specifically, this Agreement is targeted to strengthen

          initiatives already begun by PPB to ensure that encounters between police and persons with

          perceived or actual mental illness, or experiencing a mental health crisis, do not result in unnecessary

          or excessive force.

                  The Parties recognize there has been an accelerating movement toward a model of police

          management that relies on both existing and still-developing management and monitoring tools and

          systems. This model requires both vision and fiscal commitment, and is necessary to legitimate

          policing. The United States recognizes that PPB has endeavored to adopt components of modern

          management despite being a lean organization, and greatly appreciates the City’s commitment, in

          this agreement, to provide PPB the fiscal support necessary to rapidly and fully implement
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          complete state- of-the-art management and accountability system. The Parties further recognize that

          the ability of police officers to protect themselves and the community they serve is largely dependent

          on the quality of the relationship they have with that community.

                   Public and officer safety, constitutional policing, and the community’s trust in its police

          force are, thus, interdependent. The full and sustained implementation of this Agreement is intended

          to protect the constitutional rights of all members of the community, continuously improve the

          safety and security of the people of Portland, keep PPB employees safe, and increase public

          confidence in PPB, all in a cost- effective, timely, and collaborative manner. The United States

          commends the City for the steps it already has taken to implement measures to effectuate these

          goals.

                   To fully achieve these goals, this Agreement requires the City and PPB to further revise or,

          where needed, adopt new policies, training, supervision, and practices in the following areas: the use

          of force, training, community-based mental health services, crisis intervention, employee

          information system, officer accountability, and community engagement.

                   This Agreement further requires that the City and PPB put in place more effective systems

          of oversight and self-correction that will identify and correct problems before they develop into

          patterns or practices of unconstitutional conduct and/or erode community trust.

                   This Agreement further identifies measures, to be met within fixed periods of time, that will

          assist the Parties and the community in determining whether: (1) the City has changed its procedures

          and taken the actions listed in this agreement; (2) community trust in PPB has increased; and (3) the

          improvements will be sustainable.

                   For these reasons, and noting the general principle that settlements are to be encouraged,

          particularly settlements between government entities, the Parties agree to implement this Agreement

          under the following terms and conditions.




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                                        I.      GENERAL PROVISIONS

                  1.      The United States has filed a complaint in the Federal District Court for the District

          of Oregon in Portland, Oregon asserting that the City has engaged in a pattern and practice of

          constitutional violations pursuant to the authority granted to United States Department of Justice

          (“DOJ”) under 42 U.S.C. § 14141 to seek declaratory or equitable relief to remedy a pattern or

          practice of conduct by law enforcement officers that deprives individuals of rights, privileges, or

          immunities secured by the Constitution or federal law. The City expressly denies that the allegations

          of the complaint are true.

                  2.      The Parties agree that nothing in this Agreement shall be construed as an admission

          of wrongdoing by the City or evidence of liability under any federal, state, or municipal law. Upon

          execution of this Agreement by both Parties, the United States agrees to conditionally dismiss the

          complaint it filed with prejudice, subject to the Court retaining jurisdiction to enforce the

          Agreement, followed by final dismissal with prejudice upon performance of this Agreement.

                  3.      This Agreement shall constitute the entire integrated agreement of the Parties. No

          prior drafts or prior or contemporaneous communications, oral or written, shall be relevant or

          admissible for purposes of determining the meaning of any provisions herein in any litigation or any

          other proceeding. If, in the course of interpreting this Agreement, there is an ambiguity that cannot

          be resolved by the Parties or in mediation, evidence including the Parties’ course of dealing and parol

          evidence may be used.

                  4.      This Agreement is binding upon all Parties hereto, by and through their officials,

          agents, employees, and successors. If the City establishes or reorganizes a government agency or

          entity whose function includes overseeing, regulating, accrediting, investigating, or otherwise

          reviewing the operations of PPB or any aspect thereof, the City agrees to ensure these functions and

          entities are consistent with the terms of this Agreement and shall incorporate the terms of this

          Agreement into the oversight, regulatory, accreditation, investigation, or review functions of the



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          government agency or entity as necessary to ensure consistency.

                  5.      This Agreement is enforceable only by the Parties. No person or entity is, or is

          intended to be, a third-party beneficiary of the provisions of this Agreement for purposes of any

          civil, criminal, or administrative action, and accordingly, no person or entity may assert any claim or

          right as a beneficiary or protected class under this Agreement. The Parties agree to defend the terms

          of this Agreement should they be challenged in this or any other forum.

                  6.      This Agreement is not intended to impair or expand the right of any person or

          organization seeking relief against the City, PPB, or any officer or employee thereof, for their

          conduct or the conduct of PPB officers; accordingly, it does not alter legal standards governing any

          such claims by third parties, including those arising from city, state, or federal law. This Agreement

          does not expand, nor will it be construed to expand access to any City, PPB, or DOJ document,

          except as expressly provided by this Agreement, by persons or entities other than DOJ, the City, and

          PPB. All federal and state laws governing the confidentiality or public access to such documents are

          unaffected by the terms of this Agreement.

                  7.      The City shall be responsible for providing necessary support and resources to

          enable PPB to fulfill its obligations under this Agreement. The improvements outlined in this

          Agreement will require the dedication of additional funds and personnel.

                  8.      The purpose of this Agreement is to ensure that the City and PPB, by and through

          their officials, agents, employees, and successors, undertake the actions required by the Agreement,

          which in turn will resolve the concerns expressed by the United States in its complaint. The United

          States greatly appreciates the effort and expertise the current PPB leadership team has contributed to

          the investigation, agreement, and ongoing reform processes. The United States feels that continuity

          of management and effort is essential for timely compliance with the terms of this Agreement.

                                              II.     DEFINITIONS

                  Unless otherwise noted, the following terms and definitions shall apply to this Agreement:


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                  9.       “Chief” means the Chief of Police of the Portland Police Bureau or his or her

          authorized designee.

                  10.      “City” means the City of Portland, including its agents, officers, and employees in

          their official capacity.

                  11.      “C-I-Team” stands for Crisis Intervention Team.

                  12.      “C-I-Training” stands for Crisis Intervention Training, which is training on how to

          respond to persons in behavioral or mental health crisis, including persons under the influence of

          drugs or alcohol. Officers who receive such training are “C-I- Trained.”

                  13.      “City Auditor” is the City Auditor, whose duties regarding independent police

          oversight are governed by Portland City Code Chapter 3.21.

                  14.      “COCL” refers to the Compliance Officer Community Liaison, discussed in detail in

          Section X.

                  15.      “Complainant” means any person, including a PPB officer or employee, who makes a

          complaint against PPB or a sworn officer.

                  16.      “Complaint” means any complaint made to the City by a member of the public, a

          PPB officer, or a civilian PPB employee of alleged misconduct by a sworn PPB employee.

                  17.      Computer-Assisted Dispatch (“CAD”) is a computerized method of dispatching

          police officers on a service call. It can also be used to send messages to the dispatcher and store and

          retrieve data (i.e., radio logs, field interviews, schedules, etc.). PPB Manual 612.00.

                  18.      “CRC” is the Citizen Review Committee, whose duties are governed by Portland

          City Code Section 3.21.080.

                  19.      “Critical firearm discharge” means each discharge of a firearm by a PPB officer. This

          term includes discharges at persons where no one is struck. This term is not intended to include

          discharges at the range or in training or negligent discharges not intended as an application of force,

          which are still subject to administrative investigation.


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                  20.     “Day” means a calendar day.

                  21.     “Demographic category” means to the extent such information is currently collected

          by PPB, age, race, color, ethnicity, national origin, religion, gender, disability, sexual orientation,

          source of income, or gender identity.

                  22.     “Discipline” means a personnel action for violation of an established law, regulation,

          rule, or PPB policy, including written reprimand, suspension, demotion, or dismissal.

                  23.     “DOJ” refers jointly to the Civil Rights Division of the United States Department of

          Justice and the United States Attorney’s Office for the District of Oregon.

                  24.     “ECW” means Electronic Control Weapon, a weapon, including Tasers, designed

          primarily to discharge electrical charges into a subject that will cause involuntary muscle contractions

          and overrides the subject’s voluntary motor responses.

                  25.     “ECW application” means the contact and delivery of electrical impulse to a subject

          with an ECW.

                  26.     “Effective Date” means the date this Agreement is entered by the Court.

                  27.     “EIS” means the Employee Information System as provided in PPB Manual 345.00.

                  28.     “Ensure” means that the City and PPB are using objectively good faith efforts to

          achieve the outcome desired.

                  29.     “Exigent circumstances” means circumstances in which a reasonable person would

          believe that imminent and serious bodily harm to a person or persons is about to occur.

                  30.     “Firearm” is any instrument capable of discharging ammunition as defined in PPB

          Manual 1020.00.

                  31.     “Force” means any physical coercion used to effect, influence or persuade an

          individual to comply with an order from an officer. The term shall not include the ordinary

          handcuffing of an individual who does not resist.

                  32.     “IA” means the Internal Affairs unit of PPB’s Professional Standards Division


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          (“PSD”).

                    33.   “Implement” or “implementation” means the development or putting into place of a

          policy or procedure, including the appropriate training of all relevant personnel, and the consistent

          and verified performance of that policy or procedure in actual practice through the regular use of

          audit tools.

                    34.   “Including” means “including, but not limited to.”

                    35.   “Inspector” is a command position in the PSD responsible for reviewing all uses of

          force and making recommendations regarding improvements to systems of accountability in relation

          to force management.

                    36.   “IPR” means the Independent Police Review Division, an independent, impartial

          office, readily available to the public, responsible to the City Auditor, empowered to act on

          complaints against sworn PPB members for alleged misconduct, and recommend appropriate

          changes of PPB policies and procedures toward the goals of safeguarding the rights of persons and

          of promoting higher standards of competency, efficiency, and justice in the provision of community

          policing services, governed by Portland City Code Chapter 3.21.

                    37.   “Less-lethal” force means a force application that is not intended or expected to

          cause death or serious injury and that is commonly understood to have less potential for causing

          death or serious injury than conventional, more lethal police tactics. Nonetheless, use of less-lethal

          force can result in death or serious injury.

                    38.   “Lethal force” means any use of force likely to cause death or serious physical injury,

          including the use of a firearm, carotid neck hold, or strike to the head, neck, or throat with a hard

          object.

                    39.   “Line Investigation” or “Directive 940.00 Investigation” means the use of force

          investigation conducted pursuant to PPB Directive 940.00.

                    40.   “Mental Health Crisis” means an incident in which someone with an actual or


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          perceived mental illness is experiencing intense feelings of personal distress (e.g., anxiety, depression,

          anger, fear, panic, hopelessness), obvious changes in functioning (e.g., neglect of personal hygiene,

          unusual behavior) and/or catastrophic life events (e.g., disruptions in personal relationships, support

          systems or living arrangements; loss of autonomy or parental rights; victimization or natural

          disasters), which may, but not necessarily, result in an upward trajectory of intensity culminating in

          thoughts or acts that are dangerous to self and/or others.

                  41.     “Mental Illness” is a medical condition that disrupts an individual’s thinking,

          perception, mood, and/or ability to relate to others such that daily functioning and coping with the

          ordinary demands of life are diminished. Mental illness includes, but is not limited to, serious mental

          illnesses such as major depression, schizophrenia, bipolar disorder, obsessive compulsive disorder

          (“OCD”), panic disorder, posttraumatic stress disorder (“PTSD”), and borderline personality

          disorder. Mental illness includes individuals with dual diagnosis of mental illness and another

          condition, such as drug and/or alcohol addiction.

                  42.     “Misconduct” means conduct by a sworn officer that violates PPB regulations or

          orders, or other standards of conduct required of City employees.

                  43.     “Misconduct complaint” means any allegation of improper conduct by a sworn

          officer, whether the complaint alleges corruption or other criminal misconduct; a violation of law; or

          a violation of PPB policy, procedure, regulations, orders, or other standards of conduct required of

          City employees including, but not limited to, the improper use of force. This definition is not

          intended to create a right of appeal to the CRC for lethal force or in-custody death cases.

                  44.     “Mobile Crisis Prevention Team” (formerly Mobile Crisis Unit) means the team of a

          PPB patrol officer and mental health case worker who are specifically detailed to conduct outreach

          and response to persons with known mental illness or experiencing an actual or perceived mental

          health crisis, with the goal of intervening with individuals before a crisis exists and to link the

          individual with community mental health services.


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                  45.     “Non-disciplinary corrective action” refers to action other than discipline taken by a

          PPB supervisor to enable or encourage an officer to improve his or her performance.

                  46.     “Passive resistance” means non-compliance with officer commands that is non-

          violent and does not pose an immediate threat to the officer or the public.

                  47.     “Personnel” means PPB officers and employees.

                  48.     “Police officer” or “officer” means any law enforcement agent employed by

          or volunteering for PPB, including supervisors, reserve officers, and cadets.

                  49.     Police Review Board (“PRB”) is an advisory body to the Chief governed by Portland

          City Code § 3.20.140. The PRB makes recommendations as to findings and proposed officer

          discipline to the Chief.

                  50.     “Policies and procedures” means regulations or directives, regardless of the name,

          describing the duties, functions, and obligations of PPB officers and/or employees, and providing

          specific direction in how to fulfill those duties, functions, or obligations.

                  51.     “PPB Manual” refers to PPB’s Policy and Procedure Manual, revised January 2009,

          and includes the most current edition and supplements thereto.

                  52.     “PPB unit” or “unit” means any designated organization of officers within

          PPB, including precincts and specialized units.

                  53.     Portland Police Data System (“PPDS”) is PPB’s records management system that

          integrates officers’ access to other agency systems such as LEDS, NCIC/III, DMV, DA-Crimes,

          ESWIS and OJIN. See, e.g., PPB Manual 1226.00.

                  54.     “Precinct” refers to one of the service areas of PPB, which together cover the entire

          geographic area of the City of Portland. Each precinct is led by a precinct commander.

                  55.     “Probable cause” means that there is a substantial objective basis for believing that,

          more likely than not, an offense has been committed and a person to be arrested has committed it.

                  56.     “PSD” means the Professional Standards Division, the PPB unit charged with,


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          among other tasks, conducting or overseeing all internal and administrative investigations of PPB

          officers, agents, and employees arising from complaints, whose current duties are governed by PPB

          Manual 330.00.

                     57.   “Qualified Mental Health Professional” means an individual who has, at a minimum,

          a masters-level education and training in psychiatry, psychology, counseling, social work, or

          psychiatric nursing, and is currently licensed by the State of Oregon to deliver those mental health

          services he or she has undertaken to provide.

                     58.   “Serious Use of Force” means: (1) all uses of force by a PPB officer that reasonably

          appear to create or do create a substantial risk of death, serious disfigurement, disability, or

          impairment of the functioning of any body part or organ; (2) all critical firearm discharges by a

          PPB officer; (3) all uses of force by a PPB officer resulting in a significant injury, including a

          broken bone, an injury requiring hospitalization, or an injury deemed to be serious by an officer’s

          supervisor; (4) all head, neck, and throat strikes with an object or carotid neck holds; (5) force used

          upon juveniles known or reasonably assumed to be under 15 and females known or reasonably

          assumed to be pregnant; (6) all uses of force by a PPB officer resulting in a loss of consciousness;

          (7) more than two applications of an ECW on an individual during a single interaction, regardless

          of the mode or duration of the application, regardless of whether the applications are by the same

          or different officers, and regardless of whether the ECW application is longer than 15 seconds,

          whether continuous or consecutive; (8) any strike, blow, kick, ECW application, or similar use of

          force against a handcuffed, otherwise restrained, under control, or in custody subject with or

          without injury; and (9) any use of force referred by an officer’s supervisor to IA that IA deems

          serious.

                     59.   “Shall” means a mandatory duty.

                     60.   “Supervisor” means a sworn PPB employee at the rank of sergeant or above (or

          anyone acting in those capacities) and non-sworn personnel with oversight responsibility for other



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          officers.

                  61.     “Supported by evidence” means the standard of proof applied in CRC appeals

          pursuant to Portland City Code Section 3.21.160. A finding regarding a complaint is “supported by

          the evidence” when a reasonable person could make the finding regarding a complaint in light of the

          evidence, whether or not the reviewing body agrees with the finding. The CRC decides whether the

          recommended finding is supported by the evidence using a reasonable person standard, that is, the

          CRC decides whether City decision makers could have reached the conclusion they reached based

          on the evidence developed by the investigation.

                  62.     “Training” means any adult-learning methods that incorporate role- playing scenarios

          and interactive exercises that instruct officers about how to exercise their discretion at an

          administrative level, as well as traditional lecture formats. Training also includes testing and/or

          writings that indicate that the officer comprehends the material taught.

                  63.     “Use of Force” means any physical coercion used to effect, influence, or persuade an

          individual to comply with an order from an officer, above unresisted handcuffing, including actively

          pointing a firearm at a person.

                  64.     “Use of force that could result in criminal charges” means that use of force that a

          reasonable and trained supervisor could conclude would result in criminal charges due to the

          apparent circumstances, such as: (a) the level of force used as compared to the offense committed or

          resistance encountered; (b) material discrepancies between the force actually used and the use of

          force as described by the officer; or (c) the nature of the injuries.

                  65.     “Welfare Check” means a response by PPB to a call for service that is unrelated to

          an allegation of criminal conduct, but is instead to determine whether a person requires assistance

          for a medical or mental health crisis.

                                              III.    USE OF FORCE

                  PPB shall revise its existing use of force policy and force reporting requirements to ensure


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          that all force, particularly force involving persons with actual or perceived mental illness: (a) is used

          only in accordance with the Constitution and laws of the United States; (b) is no greater than

          necessary to accomplish a lawful objective; (c) is properly documented, reported, and accounted for;

          and (d) is properly investigated, reviewed, evaluated, and, if necessary, remedied. PPB shall attempt

          to avoid or minimize the use of force against individuals in perceived behavioral or mental health

          crisis, or those with mental illness and direct such individuals to the appropriate services where

          possible. In addition, PPB shall ensure that officers use non-force and verbal techniques to effect

          compliance with police orders whenever feasible, especially in the course of conducting welfare

          checks or effecting arrests for minor offenses or for persons whom officers have reason to believe

          are experiencing a mental health crisis; de-escalate the use of force at the earliest possible moment;

          only resort to those use of force weapons, including less-lethal weapons, as necessary; and refrain

          from the use of force against individuals who are already under control by officers, or who may

          express verbal discontent with officers but do not otherwise pose a threat to officers or others, or

          impede a valid law enforcement function. To achieve these outcomes, PPB shall implement the

          requirements set out below.

             A.      Use of Force Policy

                   66.    PPB shall maintain the following principles in its existing use of force policies:

                          a.      PPB shall use only the force reasonably necessary under the totality of

                                  circumstances to lawfully perform its duties and to resolve confrontations

                                  effectively and safely; and

                          b.      PPB expects officers to develop and display, over the course of their practice

                                  of law enforcement, the skills and abilities that allow them to regularly

                                  resolve confrontations without resorting to force or the least amount of

                          c.      appropriate force.

                   67.    PPB shall add to its use of force policy and procedures the following use of force


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          principles:

                            a.     Officers shall use disengagement and de-escalation techniques, when

                                   possible, and/or call in specialized units when practical, in order to reduce

                                   the need for force and increase officer and civilian safety;

                            b.     In determining whether to use force, officers will take into account all

                                   information, when feasible, including behavior, reports, and known history as

                                   conveyed to or learned by the officer by any means, indicating that a person

                                   has, or is perceived to have, mental illness;

                            c.     The use of force shall be de-escalated as resistance decreases and the amount

                                   of force used, including the number of officers who use force, shall de-

                                   escalate to a level reasonably calculated to maintain control with the least

                                   amount of appropriate force; and

                            d.     Objectively unreasonable uses of force shall result in corrective action

                                   and/or discipline, up to and including termination.

             1.         Electronic Control Weapons

                   68.      [Terminated Nov. 30, 2023, ECF 401] PPB shall revise PPB Directive

          1051.00 regarding Taser, Less- Lethal Weapon System to include the following principles:

                            a.     Prohibition against the use of ECWs for pain compliance against those

                                   suffering from mental illness or emotional crisis except in exigent

                                   circumstances, and then only to avoid the use of a higher level of force;

                            b.     Unless it would present a danger to the officer or others, that officers shall

                                   issue a verbal warning, or attempt to utilize hand signals where there is a

                                   language barrier or the subject is hearing impaired, prior to deploying their

                                   ECW;

                            c.     Officers shall follow protocols developed by PPB in conjunction with


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                                  medical professionals on their responsibilities following ECW use;

                          d.      Only one ECW at a time may be used on a subject, intentionally, except

                                  where lethal force would be permitted;

                          e.      After one standard ECW cycle (5 seconds), the officer shall reevaluate the

                                  situation to determine if subsequent cycles are necessary, including waiting

                                  for a reasonable amount of time to allow the subject to comply with the

                                  warning. Officers shall describe and explain the reasonableness of each ECW

                                  cycle in their use of force reports;

                          f.      Officers shall make every reasonable effort to attempt handcuffing during

                                  and between each ECW cycle. Officers should avoid deployments of more

                                  than three ECW cycles unless exigent circumstances warrant use;

                          g.      ECWs shall not be used on handcuffed or otherwise restrained persons,

                                  unless doing so is necessary to prevent them from causing serious physical

                                  injury to themselves or others, or if lesser attempts of control have been

                                  ineffective and/or to avoid greater application of use of force; and

                          h.      Officers receive annual ECW in service training including proficiency and

                                  policy changes, if any.

             2.      Use of Force Reporting Policy and Use of Force Report

                   69.    PPB shall revise its policies related to use of force reporting, as necessary, to require

          that:

                          a.      All PPB officers that use force, including supervisory officers, draft timely

                                  use of force reports that include sufficient information to facilitate a

                                  thorough review of the incident in question by supervisory officers; and

                          b.      All officers involved or witnesses to a use of force provide a full and candid

                                  account to supervisors.


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                          c.      In case of an officer involved shooting resulting in death, use of lethal force,

                                  or an in-custody death, PPB will fulfill its reporting and review requirements

                                  as specified in directive 1010.10, as revised. This will take place of Directive

                                  940.00 reports for purposes of paragraphs 70, and 72-77 of this Agreement.

             3.      Use of Force Supervisory Investigations and Reports

                   70.    PPB shall continue enforcement of Directive 940.00, which requires supervisors who

          receive notification of a force event to respond to the scene, conduct an administrative review and

          investigation of the use of force, document their findings in an After Action Report and forward

          their report through the chain of command. PPB shall revise Directive 940.00 to further require that

          supervisory officers:

                          a.      Complete After Action Reports within 72 hours of the force event;

                          b.      Immediately notify his or her shift supervisor and PSD regarding all officer’s

                                  Serious Use of Force, any Use of Force against persons who have actual or

                                  perceived mental illness, or any suspected misconduct. Where the supervisor

                                  suspects possible criminal conduct, the supervisor shall notify the PPB

                                  Detective Division. Where there is no misconduct, supervisors also shall

                                  determine whether additional training or counseling is warranted. PPB shall

                                  then provide such counseling or training consistent with this Agreement;

                          c.      Where necessary, ensure that the subject receives medical attention from an

                                  appropriate medical provider; and

                          d.      Interview officers individually and not in groups.

                   71.    [Terminated Nov. 30, 2023, ECF 401] PPB shall maintain adequate patrol supervision

          staffing, which at a minimum, means that PPB and the City shall maintain its current sergeant staffing

          level, including the September 2012 addition of 15 sergeants.

                   72.    PPB shall develop a supervisor investigation checklist to ensure that supervisors


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          carry out these force investigation responsibilities. PPB shall review and revise the adequacy of this

          checklist regularly, at least annually.

                  73.      PPB shall revise its policies concerning chain of command reviews of After Action

          Reports, as necessary, to require that:

                           a.      EIS tracks all Directive 940.00 material findings and corrections;

                           b.      All supervisors in the chain of command are subject to and receive corrective

                                   action or discipline for the accuracy and completeness of After Action

                                   Reports completed by supervisors under their command;

                           c.      All supervisors in the chain of command are accountable for inadequate

                                   reports and analysis;

                           d.      A supervisor receives the appropriate corrective action, including training,

                                   demotion, and/or removal from a supervisory position when he or she

                                   repeatedly conducts deficient investigations. Where a shift commander, or

                                   precinct commander, repeatedly permits deficient investigations, the shift

                                   commander, or precinct commander, receives the appropriate corrective

                                   action, including training, demotion, and/or removal from a supervisory

                                   position;

                           e.      When, after investigation, a use of force is found to be out of policy, PPB

                                   shall take appropriate corrective action consistent with the Accountability

                                   provisions of this Agreement;

                           f.      Where the use of force indicates policy, training, tactical, or equipment

                                   concerns, the immediate supervisor shall notify the Inspector and the Chief,

                                   who shall ensure that PPB timely conducts necessary training and that PPB

                                   timely resolves policy, tactical, or equipment concerns; and

                           g.      The Chief or designee, as well as PSD, has discretion to re- assign a use of


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                                      force investigation to the Detective Division or any PPB supervisor.

             B.      Compliance Audits Related to Use of Force

                   74.    In consultation with the COCL, the Inspector, as part of PPB’s quarterly review of

          force, will audit force reports and Directive 940.00 Investigation Reports to ensure that:

                          a.          With respect to use of force generally:

                               i.       reports describe the mental health information available to officers and the

                                        role of that information in their decision making;

                               ii.      officers do not use force against people who engage in passive resistance

                                        that does not impede a lawful objective;

                               iii.     when resistance decreases, officers de-escalate to a level reasonably

                                        calculated to maintain control with the least amount of appropriate force;

                               iv.      officers call in specialty units in accordance with procedure;

                               v.       officers routinely procure medical care at the earliest available opportunity

                                        when a subject is injured during a force event; and

                               vi.      officers consistently choose options reasonably calculated to establish or

                                        maintain control with the least amount of appropriate force.

                          b.          With respect to ECW usages:

                               i.       ECW deployment data and Directive 940.00 reports are consistent, as

                                        determined by random and directed audits. Discrepancies within the audit

                                        should be appropriately investigated and addressed;

                               ii.      officers evaluate the reasonableness and need for each ECW cycle and

                                        justify each cycle; when this standard is not met, this agreement requires

                                        supervisor correction;

                               iii.     officers are universally diligent in attempting to use hands-on control when

                                        practical during ECW cycles rather than waiting for compliance; and



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                               iv.      officers do not attempt to use ECW to achieve pain compliance against

                                        subjects who are unable to respond rationally unless doing so is reasonably

                                        calculated to prevent the use of a higher level of force.

                          c.          With respect to use of force reporting, the reports:

                               i.       are completed as soon as possible after the force incident occurs, but no

                                        later than the timeframes required in policy;

                               ii.      include a detailed description of the unique characteristics of the event,

                                        using common everyday language, sufficient to allow supervisors to

                                        accurately evaluate the quality of the officer’s decision making and

                                        performance;

                               iii.     include a decision point description of the force decision making;

                               iv.      include a detailed description of the force used, to include descriptive

                                        information regarding the use of any weapon;

                               v.       include a description of any apparent injury to the suspect, any complaint

                                        of injury, or the absence of injury (including information regarding any

                                        medical aid or on-scene medical evaluation provided);

                               vi.      include the reason for the initial police presence;

                               vii.     include a description of the level of resistance encountered by each officer

                                        that led to each separate use of force and, if applicable, injury;

                               viii. include a description of why de-escalation techniques were not used or

                                        whether they were effective;

                               ix.      include whether the individual was known by the officer to be mentally ill

                                        or in mental health crisis;

                               x.       include a general description of force an officer observes another officer

                                        apply; and



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                               xi.     demonstrate that officers consistently make diligent efforts to document

                                       witness observations and explain when circumstances prevent them from

                                       identifying witnesses or obtaining contact information. Reports will include

                                       all available identifying information for anyone who refuses to provide a

                                       statement.

                  75.     In consultation with the COCL, the Inspector shall audit force reports and Directive

          940.00 investigations to determine whether supervisors consistently:

                          a.         Complete a Supervisor’s After Action Report within 72 hours of notification;

                          b.         Review all use of force reports to ensure they include the information

                                     required by this Agreement and PPB policy;

                          c.         Evaluate the weight of the evidence;

                          d.         Use a “decision-point” approach to analyze each use of force;

                          e.         Determine whether the officer’s actions appear consistent with PPB policy,

                                     this Agreement, and best practices;

                          f.         Determine whether there was legal justification for the original stop and/or

                                     detention;

                          g.         Assess the incident for tactical and training implications, including whether

                                     the use of force may have been avoided through the use of de-escalation

                                     techniques or lesser force options;

                          h.         Determine whether additional training or counseling is warranted;

                          i.         Implement corrective action whenever there are material omissions or

                                     inaccuracies in the officers’ use of force report, and for failing to report a use

                                     of force, whether applied or observed;

                          j.         Document any non-disciplinary corrective action to remedy training

                                     deficiencies, policy deficiencies, or poor tactical decisions in EIS;



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                          k.     Notify PSD and the shift supervisor of every incident involving an officer’s

                                 Serious Use of Force, and any Use of Force that could appear to a reasonable

                                 supervisor to constitute misconduct; and

                          l.     Notify the Detective Division and shift supervisor of every force incident in

                                 which it could reasonably appear to a supervisor that an officer engaged in

                                 criminal conduct.

                  76.     In consultation with the COCL, the Inspector shall conduct a quarterly analysis of

          force data and supervisors’ Directive 940.00 reports designed to:

                          a.     Determine if significant trends exist;

                          b.     Determine if there is variation in force practice away from PPB policy in any

                                 unit;

                          c.     Determine if any officer, PPB unit, or group of officers is using force

                                 differently or at a different rate than others, determine the reason for any

                                 difference and correct or duplicate elsewhere, as appropriate;

                          d.     Identify and correct deficiencies revealed by the analysis; and

                          e.     Document the Inspector’s findings in an annual public report.

                  77.     In consultation with the COCL, the Inspector shall audit the adequacy of chain of

          command reviews of After Action Reports using the following performance standards to ensure that

          all supervisors in the chain of command:

                          a.     Review Directive 940.00 findings using a preponderance of the evidence

                                 standard;

                          b.     Review Directive 940.00 reports to ensure completeness and order additional

                                 investigation, when necessary;

                          c.     Modify findings as appropriate and document modifications;

                          d.     Order additional investigation when it appears that there is additional


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                                  relevant evidence that may assist in resolving inconsistencies or improve the

                                  reliability or credibility of the findings and counsel the investigator;

                          e.      Document any training deficiencies, policy deficiencies, or poor tactical

                                  decisions, ensure a supervisor discusses poor tactical decisions with the

                                  officer and ensure the discussion is documented in EIS;

                          f.      Suspend an investigation immediately and notify the branch Assistant Chief,

                                  the Director of PSD, and the Detectives Division whenever the investigating

                                  supervisor, shift commander or Division commander finds evidence of

                                  apparent criminal conduct by a PPB officer; and

                          g.      Reports a matter to PSD for review and investigation whenever an

                                  investigating supervisor, shift commander or precinct commander finds

                                  evidence of apparent misconduct by a PPB officer or employee.

                                                IV.      TRAINING

                  78.     All aspects of PPB training shall reflect and instill agency expectations that officers

          are committed to the constitutional rights of the individuals who have or are perceived to have

          mental illness whom they encounter, and employ strategies to build community partnerships to

          effectively increase public trust and safety. To achieve these outcomes, PPB shall implement the

          requirements below.

                  79.     The Training Division shall review and update PPB’s training plan annually. To

          inform these revisions, the Training Division shall conduct a needs assessment and modify this

          assessment annually, taking into consideration: (a) trends in hazards officers are encountering in

          performing their duties; (b) analysis of officer safety issues; (c) misconduct complaints;

          (d) problematic uses of force; (e) input from members at all levels of PPB; (f) input from the

          community; (g) concerns reflected in court decisions; (h) research reflecting best practices;

          (i) the latest in law enforcement trends; (j) individual precinct needs; and (k) any changes to


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          Oregon or federal law or PPB policy.

                  80.     [Terminated Nov. 30, 2023, ECF 401] Within 180 days of the Effective Date, PPB

          shall develop and implement a process that provides for the collection, analysis, and review of data

          regarding the effectiveness of training for the purpose of improving future instruction, course

          quality, and curriculum. These evaluations shall measure and document student satisfaction with

          the training received; student learning as a result of training; and the extent to which program

          graduates are applying the knowledge and skills acquired in training to their jobs. This audit shall be

          reported to the Training Division Manager and shall include student evaluations of the program

          and the instructor.

                  81.     PPB shall ensure that the Training Division is electronically tracking, maintaining,

          and reporting complete and accurate records of current curricula, lesson plans, training delivered,

          attendance records, and other training materials in a central, commonly accessible, and organized file

          system. Each officer’s immediate supervisor shall review the database for the officers under his/her

          command at least semi-annually.

                  82.     [Terminated Nov. 30, 2023, ECF 401] PPB shall report training delivered and

          received semi-annually to the Assistant Chief of Operations and, during the pendency of this

          Agreement, to DOJ.

                  83.     [Terminated Nov. 30, 2023, ECF 401] PPB shall institute guidelines to govern its

          selection of officers that serve as trainers and shall ensure that those officers do not have a history

          of using excessive force. The trainer selection guidelines shall prohibit the selection of officers who

          have been subject to disciplinary action based upon the use of force or mistreatment of people with

          mental illness within the three (3) preceding years, or twice in the preceding five (5) years, and will

          take into account if a civil judgment has been rendered against the City in the last five (5) years

          based on the officer’s use of force.

                  84.     All training that PPB provides shall conform to PPB’s current policies at the time of


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          training. PPB shall train all officers on the Agreement’s requirements during the next in-service

          training scheduled.

                          a.           With respect to patrol officers, PPB shall:

                                i.       increase the use of role-playing scenarios and interactive exercises that

                                         illustrate proper use of force decision making, specifically including

                                         interactions with people who have or are perceived to have mental illness,

                                         including training officers on the importance and impact of ethical decision

                                         making and peer intervention;

                                ii.      emphasize the use of integrated de-escalation techniques, when

                                         appropriate, that encourage officers to make arrests without using force;

                                iii.     continue to provide training regarding an officer’s duty to procure medical

                                         care whenever a subject is injured during a force event, and enhance and

                                         revise training as necessary to ensure that PPB’s training in this regard is

                                         proactive and responsive to deficiencies identified by the Inspector, if any;

                                iv.      continue to train on proactive problem solving and to utilize, when

                                         appropriate, disengagement, area containment, surveillance, waiting out a

                                         subject, summoning reinforcements, requesting specialized units, including

                                         CIT officers and mental health professionals, or delaying arrest;

                                v.       describe situations in which a force event could lead to potential civil or

                                         criminal liability; and

                                vi.      continue to train officers to avoid using profanity, prohibit using

                                         derogatory/demeaning labels, and also avoiding terms not currently

                                         appropriate for person-center communication, such as the term “mentals,”

                                         in all work-related settings and communications, as well as when interacting

                                         with the public.



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                          b.          With respect to supervisors, provide additional training on how to:

                               i.       conduct use of force investigations, including the supervisory investigatory

                                        responsibilities identified in Section III.A.3;

                               ii.      evaluate officer performance as part of PPB’s annual performance

                                        evaluation system; and

                               iii.     foster positive career development and impose appropriate disciplinary

                                        sanctions and non-disciplinary corrective action.

                  85.     In consultation with the COCL, the Inspector shall audit the training program using

          the following performance standards to ensure that PPB does the following:

                          a.          Conducts a comprehensive needs assessment annually;

                          b.          Creates a Training Strategic Plan annually;

                          c.          Within 180 days of the Effective Date, develops and implements a process

                                      for evaluation of the effectiveness of training;

                          d.          Maintains accurate records of Training delivered, including substance and

                                      attendance;

                          e.          Makes Training Records accessible to the Director of Services, Assistant

                                      Chief of Operations, and DOJ;

                          f.          Trains Officers, Supervisors, and Commanders on areas specific to their

                                      responsibilities; and

                          g.          Ensures that sworn PPB members are provided a copy of all PPB directives

                                      and policies issued pursuant to this Agreement, and sign a statement

                                      acknowledging that they have received, read, and had an opportunity to ask

                                      questions about the directives and/or policies, within 30 days of the release of the

                                      policy.

                  86.     In consultation with the COCL, the Inspector shall gather and present data and

          analysis on a quarterly basis regarding patterns and trends in officers’ uses of force to the Chief, the

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          PPB Training Division, and to the Training Advisory Council. The Training Division and Training

          Advisory Council shall make written recommendations to the Chief regarding proposed changes in

          policy, training, and/or evaluations based on the data presented. The Inspector shall also, in

          coordination with the COCL and PSD, identify problematic use of force patterns and training

          deficiencies. The Chief’s Office shall assess all use of force patterns identified by the Training

          Division and/or Training Advisory Council and timely implement necessary remedial training to

          address deficiencies so identified.

                  87.        [Terminated Nov. 30, 2023, ECF 401] Training Advisory Council meetings will

          be open to the public unless the matter under discussion is confidential or raises public safety

          concerns, as determined by the Chief.

                        V.      COMMUNITY-BASED MENTAL HEALTH SERVICES

                  88.        The absence of a comprehensive community mental health infrastructure often shifts

          to law enforcement agencies throughout Oregon the burden of being first responders to individuals

          in mental health crisis. Under a separate agreement, the United States is working with State of

          Oregon officials in a constructive, collaborative manner to address the gaps in state mental health

          infrastructure. The state-wide implementation of an improved, effective community- based mental

          health infrastructure should benefit law enforcement agencies across the State, as well as people with

          mental illness. The United States acknowledges that this Agreement only legally binds the City to

          take action. Nonetheless, in addition to the City, the United States expects the City’s partners to help

          remedy the lack of community-based addiction and mental health services to Medicaid clients and

          uninsured area residents. The City’s partners in the provision of community- based addiction and

          mental health services include: the State of Oregon Health Authority, area Community Care

          Organizations (“CCOs”), Multnomah County, local hospitals, health insurance providers,

          commercial health providers, and existing Non-Governmental Organizations (“NGOs”) such as

          community-based mental health providers, and other stakeholders.


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                  89.     The United States expects that the local CCOs will establish, by mid-2013, one or

          more drop-off center(s) for first responders and public walk-in centers for individuals with

          addictions and/or behavioral health service needs. All such drop off/walk in centers should focus

          care plans on appropriate discharge and community- based treatment options, including assertive

          community treatment teams, rather than unnecessary hospitalization.

                  90.     The CCOs will immediately create addictions and mental health- focused

          subcommittee(s), which will include representatives from PPB’s Addictions and Behavioral Health

          Unit (“ABHU”), the ABHU Advisory Board, Portland Fire and Rescue, Bureau of Emergency

          Communications (“BOEC”) and other City staff. These committees will pursue immediate and

          long-term improvements to the behavioral health care system. Initial improvements include:

                          a.     Increased sharing of information, subject to lawful disclosure, between

                                 agencies and organizations including BOEC, Multnomah County, and health

                                 care providers to create an information exchange among first responders and

                                 providers to better serve those suffering from mental illness;

                          b.     Creation of rapid-access clinics so those in crisis have access to timely

                                 medication management appointments;

                          c.     Enhancing access to primary care providers to shift low-to- moderate acuity

                                 patients to primary care programs creating more capacity for acute patients in

                                 existing outpatient crisis mental health systems;

                          d.     Expanding the options and available capacity for BOEC Operators to

                                 appropriately divert calls to qualified civilian mental health providers as first

                                 responders;

                          e.     Addressing issues of unmet needs identified by Safer PDX and its

                                 community partners;

                          f.     Expanding and strengthening networks of Peer-Mediated services to:


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                               i.       develop a referral guide delineating these services and locations and assist

                                        with accessing information;

                               ii.      better educate the community of the viability of these services as alternative

                                        first engagement sites/programs for those having difficulty engaging with

                                        “professional driven” services;

                               iii.     expand peer services connected to peer supports in the community for

                                        inpatient psychiatric units (including Emergency Departments) and in the

                                        community;

                               iv.      add peer guides to work alongside Emergency Department guides for those

                                        patients with behavioral health issues entering the Emergency Department;

                                        and

                               v.       evaluate opportunities to expand use of peers to coordinate with PPB

                                        ABHU (as described herein) and function as a link with impacted

                                        individuals; and

                          g.          pursue tele-psychiatry (a provision of mental health care by video

                                      conferencing) as a way for first responders to take advantage of existing IT

                                      infrastructure to provide direct care or provider- evaluation supporting the

                                      provision of appropriate services to an individual in crisis.

                                           VI.     CRISIS INTERVENTION

                  The City acknowledges that the community of consumers of mental health services, and

          their families and advocates, have an interest in interactions between PPB and people experiencing

          mental health symptoms or crises. The PPB will add new capacity and expertise to deal with persons

          perceived or actually suffering from mental illness, or experiencing a mental health crisis as required

          by this Agreement. Despite the critical gaps in the state and local mental health system, the City and

          PPB must be equipped to interact with people in mental health crisis without resorting to



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          unnecessary or excessive force.

             A.       Addictions and Behavioral Health Unit and Advisory Committee

                   91.    [Terminated Nov. 30, 2023, ECF 401] In order to facilitate PPB’s successful

          interactions with mental health consumers and improve public safety, within 60 days of the

          Effective Date, PPB shall develop an Addictions and Behavioral Health Unit (“ABHU”) within the

          PPB. PPB shall assign command-level personnel of at least the rank of Lieutenant to manage the

          ABHU. ABHU shall oversee and coordinate PPB’s Crisis Intervention Team (“C-I Team”), Mobile

          Crisis Prevention Team (“MCPT”), and Service Coordination Team (“SCT”), as set forth in this

          Agreement.

                   92.    [Terminated Nov. 30, 2023, ECF 401] ABHU will manage the sharing and

          utilization of data that is subject to lawful disclosure between PPB and Multnomah County, or

          its successor. PPB will use such data to decrease law enforcement interactions or mitigate the

          potential uses of force in law enforcement interactions with consumers of mental health

          services.

                   93.    [Terminated Nov. 30, 2023, ECF 401] ABHU shall track outcome data generated

          through the C-I Team, MCPT, and SCT, to: (a) develop new response strategies for repeat calls for

          service; (b) identify training needs; identify and propose solutions to systemic issues that impede

          PPB’s ability to provide an appropriate response to a behavioral crisis event; and (c) identify

          officers’ performance warranting commendation or correction.

                   94.    Within 90 days of the Effective Date, PPB shall also establish an ABHU Advisory

          Committee. The ABHU Advisory Committee shall include representation from: PPB command

          leadership, CIT, MCPT, and SCT; BOEC; civilian leadership of the City government; and shall seek

          to include representation from: the Multnomah County’s Sheriff’s Office; Oregon State Department

          of Health and Human Services; advocacy groups for consumers of mental health services; mental

          health service providers; coordinated care organizations; and persons with lived experience with


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          mental health services.

                   95.     The ABHU Advisory Committee shall provide guidance to assist the City and PPB

          in the development and expansion of C-I Team, MCPT, SCT, BOEC Crisis Triage, and utilization

          of community-based mental health services. The ABHU Advisory Committee shall analyze and

          recommend appropriate changes to policies, procedures, and training methods regarding police

          contact with persons who may be mentally ill or experiencing a mental health crisis, with the goal of

          de-escalating the potential for violent encounters. The ABHU Advisory Committee shall report its

          recommendations to the ABHU Lieutenant, PPB Compliance Coordinator, COCL (as described

          herein), and the BOEC User Board.

                   96.     Within 240 days of the Effective Date of this Agreement, the ABHU Advisory

          Committee will provide status reports on the implementation of the ABHU and BOEC Crisis

          Triage, and identify recommendations for improvement, if necessary. PPB will utilize the ABHU

          Advisory Committee’s recommendations in determining appropriate changes to systems, policies,

          and staffing.

             B.      Continuation of C-I Program

                   97.     [Terminated Nov. 30, 2023, ECF 401] PPB provides C-I Training to all its

          officers. C-I is a core competency skill for all sworn police officers in the City. PPB shall

          continue to train all officers on C-I.

                   98.     [Terminated Nov. 30, 2023, ECF 401] PPB agrees to continue to require a

          minimum of 40 hours of C-I training to all officers before officers are permitted to assume any

          independent patrol or call- response duties. Additionally, PPB shall include C-I refresher training

          for all officers as an integral part of PPB’s on- going annual officer training. PPB’s Training

          Division, in consultation with ABHU Advisory Committee, shall determine the subjects and scope

          of initial and refresher C-I training for all officers.

             C.      Establishing “Memphis Model” Crisis Intervention Team


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                  99.     [Terminated Nov. 30, 2023, ECF 401] Within 120 days of the Effective Date, PPB

          shall establish a Memphis Model Crisis Intervention team (“C-I Team”).

                  100.    [Terminated Nov. 30, 2023, ECF 401] PPB’s C-I Team shall be comprised of officers

          who volunteer for assignment to the C-I Team. The number of C-I Team members will be driven by

          the demand for C-I Team services, with an initial goal of 60-80 volunteer, qualified officers.

                  101.    [Terminated Nov. 30, 2023, ECF 401] No officers may participate in C-I Team if

          they have been subject to disciplinary action based upon use of force or mistreatment of people

          with mental illness within the three years preceding the start of C-I Team service, or during C-I

          Team service. PPB, with the advice of the ABHU Advisory Committee, shall define criteria for

          qualification, selection, and ongoing participation of officers in the C-I Team.

                  102.    [Terminated Nov. 30, 2023, ECF 401] PPB shall specially train each C-I Team

          member before such member may be utilized for C-I Team operations. PPB, with the advice of

          the ABHU Advisory Committee, shall develop such training for C-I Team members consistent

          with the Memphis Model.

                  103.    [Terminated Nov. 30, 2023, ECF 401] C-I Team members will retain their normal

          duties until dispatched for use as a C-I Team. BOEC or PPB may dispatch C-I Team members to

          the scene of a crisis event.

                  104.    [Terminated Nov. 30, 2023, ECF 401] PPB will highlight the work of the

          C-I Team to increase awareness of the effectiveness of its work.

                  105.    [Terminated Nov. 30, 2023, ECF 401] For each crisis event to which a C-I Team is

          dispatched, the C-I Team member shall gather data that ABHU shall utilize to track and report data

          on public safety system interactions with individuals with perceived or actual mental illness or who

          are in crisis. These data shall include:

                          a.       Date, time, and location of the incident;

                          b.       Subject’s name, age, gender, and address;


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                          c.     Whether the subject was armed, and the type of weapon;

                          d.     Whether the subject is a U.S. military veteran;

                          e.     Complainant’s name and address;

                          f.     Name and DPSST number of the officer on the scene;

                          g.     Whether a supervisor responded to the scene;

                          h.     Techniques or equipment used;

                          i.     Any injuries to officers, subject, or others;

                          j.     Disposition;

                          k.     Whether a mental health professional responded to the scene;

                          l.     Whether a mental health professional contacted the subject as a result of the

                                 call; and

                          m.     A brief narrative of the event (if not included in any other document).

             D.      Mobile Crisis Prevention Team

                   106.   [Terminated Nov. 30, 2023, ECF 401] PPB currently has an MCPT comprised of a

          two-person team, one sworn officer and one contractor who is a qualified mental health

          professional. Within 120 days of the Effective Date, City shall expand MCPT to provide one MCPT

          carper PPB precinct.

                   107.   [Terminated Nov. 30, 2023, ECF 401] Each MCPT car shall be staffed by one

          sworn PPB officer and one qualified mental health professional. MCPT shall be the fulltime

          assignment of each such officer.

                   108.   [Terminated Nov. 30, 2023, ECF 401] No officers may participate in MCPT if they

          have been subject to disciplinary action based upon use of force or mistreatment of people with

          mental illness within the three years preceding the start of MCPT service, or during MCPT service.

          PPB, with the advice of the ABHU Advisory Committee, shall define criteria for qualification,

          selection, and ongoing participation of officers in the MCPT.


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                   109.    [Terminated Nov. 30, 2023, ECF 401] PPB shall specially train each MCPT

          member before such member may be utilized for MCPT operations. PPB, with the advice of the

          ABHU Advisory Committee, shall develop such training for MCPT members.

                   110.    [Terminated Nov. 30, 2023, ECF 401] MCPT shall utilize C-I Team data to

          proactively address mental health service, in part, by connecting service recipients with service

          providers.

                   111.    [Terminated Nov. 30, 2023, ECF 401] Within 180 days of the Effective Date, PPB,

          with the advice of the ABHU Advisory Committee, shall develop policies and procedures for the

          transfer of custody or voluntary referral of individuals between PPB, receiving facilities, and local

          mental health and social service agencies. These policies and procedures shall clearly describe the

          roles and responsibilities of these entities and of MCPT officers in the process.

             E.        Service Coordination Team

                   112.    [Terminated Nov. 30, 2023, ECF 401] The Service Coordination Team (“SCT”), or

          its successor, shall serve to facilitate the provision of services to individuals who interact with PPB

          that also have a criminal record, addictions, and highly acute mental or physical health service needs.

             F.        BOEC

                   113.    [Terminated Nov. 30, 2023, ECF 401] Within 120 days of the Effective Date,

          BOEC and PPB, with the advice of the ABHU Advisory Committee, shall complete policies and

          procedures to triage calls related to mental health issues, including changes to protocols for

          assigning calls to Multnomah County Crisis Call Center, and adding new or revised policies and

          protocols to assign calls to the PPB ABHU or directly to NGOs or community-based mental health

          professionals.

                   114.    [Terminated Nov. 30, 2023, ECF 401] Within 180 days of the Effective Date, the

          City will complete training of all BOEC Dispatchers in Crisis Triage. The City, with the advice of

          the ABHU Advisory Committee, shall develop ongoing training for BOEC Dispatchers.


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                  115.    Within 180 days of the Effective Date, the City shall ensure Crisis Triage is fully

          operational to include the implementation of the policies and procedures developed pursuant to the

          above paragraph and operation by trained staff.

                               VII.    EMPLOYEE INFORMATION SYSTEM

                  116.    PPB has an existing Employee Information System (“EIS”) to identify employees

          and design assistance strategies to address specific issues affecting the employee. See PPB Manual

          345.00. PPB agrees to enhance its EIS to more effectively identify at-risk employees, supervisors and

          teams to address potentially problematic trends in a timely fashion. Accordingly, within 90 days of

          the Effective Date, PPB shall:

                          a.      Require that commanders and supervisors conduct prompt reviews of EIS

                                  records of employees under their supervision and document the review has

                                  occurred in the EIS performance tracker;

                          b.      Require that commanders and supervisors promptly conduct reviews of EIS

                                  for officers new to their command and document the review has occurred in

                                  the EIS performance tracker; and

                          c.      Require that EIS staff regularly conduct data analysis of units and supervisors

                                  to identify and compare patterns of activity.

                  117.    PPB agrees to use force audit data to conduct similar analyses at supervisor- and

          team-levels.

                  118.    PPB shall continue to use existing thresholds, and specifically continue to include the

          following thresholds to trigger case management reviews:

                          a.      Any officer who has used force in 20% of his or her arrests in the past six

                                  months; and

                          b.      Any officer who has used force three times more than the average number of

                                  uses of force compared with other officers on the same shift.


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                   119.   [Terminated Nov. 30, 2023, ECF 401] Within 90 days of the Effective Date,

          PPB shall add one additional threshold to trigger case management review any officer who has

          three uses of force in a one-month period.

                   120.   [Terminated Nov. 30, 2023, ECF 401] Within 90 days of the Effective Date, PPB

          shall PPB identify and train a second EIS administrator. This individual may be assigned to other

          tasks within the Professional Standards Division or as otherwise needed.

                                     VIII. OFFICER ACCOUNTABILITY

                   PPB and the City shall ensure that all complaints regarding officer conduct are fairly

          addressed; that all investigative findings are supported by a preponderance of the evidence and

          documented in writing; that officers and complainants receive a fair and expeditious resolution of

          complaints; and that all officers who commit misconduct are held accountable pursuant to a

          disciplinary system that is fair and consistent. The City and PPB seek to retain and strengthen the

          citizen and civilian employee input mechanisms that already exist in the PPB’s misconduct

          investigations by retaining and enhancing IPR and CRC as provided in this Agreement.

             A.      Investigation Timeframe

                   121.   PPB and the City shall complete all administrative investigations of officer

          misconduct within one-hundred eighty (180) days of receipt of a complaint of misconduct, or

          discovery of misconduct by other means. For the purposes of this provision, completion of

          administrative investigations includes all steps from intake of allegations through approval of

          recommended findings by the Chief, excluding appeals, if any, to CRC. Appeals to CRC should be

          resolved within 90 days.

                   122.   PPB shall conduct administrative investigations concurrently with criminal

          investigations, if any, concerning the same incident. All administrative investigations shall be subject

          to appropriate tolling periods as necessary to conduct a concurrent criminal investigation, or as

          otherwise provided by law, or as necessary to meet the CRC or PRB recommendation to further


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          investigate.

                   123.   If PPB is unable to meet these timeframe targets, it shall undertake and provide to

          DOJ a written review of the IA process, to identify the source of the delays and implement an action

          plan for reducing them.

             B.      On Scene Public Safety Statements and Interviews

                   124.   Within 90 days of the Effective Date, the City and PPB shall review its protocols for

          compelled statements to PSD and revise as appropriate so that it complies with applicable law and

          current professional standards, pursuant to Garrity v. New Jersey, 385 U.S. 493 (1967). The City will

          submit the revised protocol to DOJ for review and approval. Within 45 days of obtaining DOJ’s

          approval, PPB shall ensure that all officers are advised on the revised protocol.

                   125.   Separation of all witness and involved officers to lethal force events is necessary in

          order to safeguard the integrity of the investigation of that event. Immediately following any lethal

          force event, PPB shall continue to issue a communication restriction order (“CRO”) to all witness

          and involved officers, prohibiting direct or indirect communications between those officers

          regarding the facts of the event. The CRO will continue, unless extended further, until the

          conclusion of the Grand Jury or, if no Grand Jury is convened, until a disposition is determined by

          the District Attorney.

                   126.   PPB shall continue to require witness officers to lethal force events to give an on-

          scene briefing to any supervisor and/or a member of the Detective Division to ensure that victims,

          suspects, and witnesses are identified, evidence is located, and provide any information that may be

          required for the safe resolution of the incident, or any other information as may be required.

                   127.   In agreement and collaboration with the Multnomah County District Attorney, PPB

          shall request that involved officers in lethal force and in-custody death events provide a voluntary,

          on-scene walk-through and interview, unless the officer is incapacitated.




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             C.      Conduct of IA Investigations

                   128.   Currently, both IPR and PPB’s PSD have authority to conduct administrative

          investigations, provided that IPR interview of PPB Officers must only be conducted jointly with IA.

          Within 120 days of the Effective Date, the City will develop and implement a plan to reduce time

          and effort consumed in the redundant interview of witnesses by both IPR and IA, and enable

          meaningful independent investigation by IPR, when IPR determines such independent investigation

          is necessary.

                   129.   The City and PPB shall ensure that all allegations of use of excessive force are

          subject to full and completed IA investigations resulting in findings, unless there is clear and

          convincing evidence to IPR that the allegation has no basis in fact.

                   130.   [Terminated Nov. 30, 2023, ECF 401] The City and PPB shall continue to expressly

          prohibit all forms of retaliation, including discouragement, intimidation, coercion, or adverse action,

          against any person who reports misconduct, makes a misconduct complaint, or cooperates with an

          investigation of misconduct.

                   131.   The City and PPB shall retain Police Review Board procedures currently utilized for

          purposes of investigation and making recommended findings on administrative complaints, except

          as outlined below.

                          a.      Currently, seven voting members of the PRB review use of force incidents,

                                  including two citizen members. When PRB reviews uses of force case, one of

                                  the two citizen member slots shall be drawn from the Citizen Review

                                  Committee members.

                          b.      The CRC slot on the PRB in use of force cases will rotate among the CRC

                                  membership so that different CRC members participate on the PRB. Within

                                  60 days of the Effective Date, the Auditor shall develop a membership

                                  rotation protocol.


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                          c.          All members participating in the PRB must maintain confidentiality and be

                                      able to make thoughtful, unbiased, objective recommendations to the Chief

                                      of Police and Police Commissioner that are based on facts, consistent with

                                      PRB city code provisions and “just cause” requirements set forth in Portland

                                      City Charter, City rules, and labor agreements.

                          d.          Cases in which the member elects, with the concurrence of the Chief and the

                                      Police Commissioner, to accept the investigative findings and recommended

                                      discipline. This option will only be available to a member following

                                      implementation of code language which shall require at a minimum a full

                                      investigation of the alleged misconduct, issuance of the investigative findings,

                                      and concurrence with the findings by the Independent Police Review, the

                                      Professional Standards Division and the member’s Branch Chief. The scope

                                      of cases eligible for stipulated discipline shall be identified in the authorizing

                                      code, and cases involving alleged used of excessive force, cases involving

                                      alleged discrimination, disparate treatment or retaliation, reviews of officer

                                      involved shootings and in-custody deaths, and cases in which the Chief or

                                      the Police Commissioner does not agree to accept the member’s proposed

                                      stipulation to findings and recommended discipline shall not be eligible for

                                      stipulated findings and recommended discipline.

                          e.          All community members and CRC members must meet the following

                                      qualifications to participate on the PRB:

                               i.       Pass a background check performed by the Bureau.

                               ii.      Participate in Bureau training to become familiar with police training and

                                        policies, including the PRB process.

                               iii.     Sign a confidentiality agreement.


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                               iv.      Participate in ride-alongs to maintain sufficient knowledge of police patrol

                                        procedures.

                          f.          Current city code provides that the City Auditor and the Chief have authority

                                      to recommend to City Council the removal of citizen members from the

                                      PRB pool. Likewise, the City Auditor or Chief shall have authority to

                                      recommend to City Council removal of a CRC member from serving on the

                                      PRB. The Chief or the City Auditor may recommend that City Council

                                      remove a community member or member of the CRC from the pool for the

                                      following reasons:

                               i.      Failure to attend training;

                               ii.     Failure to read Case Files;

                               iii.    Objective demonstration of disrespectful or unprofessional conduct;

                               iv.     Repeated unavailability for service when requested;

                               v.      Breach of confidentiality;

                               vi.     Objective demonstration of bias for or against the police; or

                               vii.    Objective demonstration of conflict of interest.

                          g.          Removal from participation in the PRB shall not affect CRC membership.

                          h.          Like current PRB citizen members, CRC members serving on the PRB may

                                      serve in that capacity for no more than three (3) years.

                          i.          A CRC member who participates in a PRB review shall recuse

                                      himself/herself during any later appeal of the same allegation(s) to the CRC.

                  132.    By majority vote, the PRB may request that investigations of misconduct be returned

          to its investigating entity, i.e. PSD or IPR, to complete the investigation as to factual matters

          necessary to reach a finding regarding the alleged misconduct. The investigating entity must make

          reasonable attempts to conduct the additional investigation or obtain the additional information


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          within 10 business days or provide a written statement to the PRB explaining why additional time is

          needed.

                    133.   If an officer’s use of force gives rise to a finding of liability in a civil trial, PPB shall:

          (1) enter that civil liability finding in the EIS; (2) reevaluate the officer’s fitness to participate in all

          current and prospective specialized units ; (3) if no IA investigation has previously been conducted

          based upon the same allegation of misconduct and reached an administrative finding, conduct a full

          IA investigation with the civil trial finding creating a rebuttable presumption that the force used also

          violated PPB policy, which presumption can only be overcome by specific, credible evidence by a

          preponderance of evidence; (4) if an IA investigation has already concluded based upon the same

          allegation of misconduct and failed to reach a sustained finding, identify whether any new evidence

          exists in the record of the civil trial to justify the reopening of the IA investigation, and if so,

          reinitiate an IA investigation; and (5) if an IA investigation has already concluded based upon the

          same allegation of misconduct and failed to reach a sustained finding, and no new evidence from the

          civil trial justifies reopening the IA investigation, work with IPR to identify the reason why the

          administrative finding was contrary to the civil trial finding and publish a summary of the results of

          the inquiry.

             D.       CRC Appeals

                    134.   [Terminated Nov. 30, 2023, ECF 401] The City shall expand the membership of the

          CRC to 11 members, representative of the many and diverse communities in Portland, who are

          neutral, unbiased, and capable of making objective decisions. The quorum of CRC members

          necessary to act may remain at its existing level.

                    135.   [Terminated Nov. 30, 2023, ECF 401] The City and PPB agree that the CRC may

          find the outcome of an administrative investigation is unreasonable if the CRC finds the findings

          are not supported by the evidence.

                    136.   [Terminated Nov. 30, 2023, ECF 401] In its review process for purposes of the


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          appeal, the CRC may make one request for additional investigation or information to the

          investigating entity, i.e. PSD or IPR at any point during its review. The investigating entity must

          make reasonable attempts to conduct the additional investigation or obtain the additional

          information within 10 business days or provide a written statement to the CRC explaining why

          additional time is needed. The request for additional investigation or information may contain

          multiple points of inquiry, but no follow-up requests will be permitted. The additional request be

          voted on by a quorum, the members voting must have read the Case File in order to vote, and any

          request with multiple points of inquiry must be prioritized.

             E.      Discipline

                   137.   Within 60 days of the Effective Date, PPB and the City shall develop and implement

          a discipline guide to ensure that discipline for sustained allegations of misconduct is based on the

          nature of the allegation and defined, consistent, mitigating and aggravating factors and to provide

          discipline that is reasonably predictable and consistent.

             F.      Communication with Complainant and Transparency

                   138.   [Terminated Nov. 30, 2023, ECF 401] Within 180 days of the Effective Date, the

          City shall enhance its existing website to ensure that a complainant can file and track his or her

          own complaint of officer misconduct.

                   139.   [Terminated Nov. 30, 2023, ECF 401] Within 120 days of the Effective Date, the

          City shall review its protocols to ensure that the City shares with complainants requested

          documentation about his or her own complaint to the extent permitted bylaw.

                   140.   [Terminated Nov. 30, 2023, ECF 401] The City shall ensure that IPR provides each

          complainant a tracking number upon receipt of the complaint, informs each complainant of the

          complaint classification, assignment (precinct or IA) and outcome of the complaint (sustained,

          unproven, etc.) in writing (whether mail, email/text, or fax), including information regarding

          whether the City took any corrective action. The City Attorney’s Office shall determine whether


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           disclosures regarding corrective action are required on a case- by-case basis consistent with Oregon’s

           Public Records Law.

     IX.    COMMUNITY ENGAGEMENT AND CREATION OF PORTLAND COMMITTEE
                        ON COMMUNITY ENGAGED-POLICING

                   There is significant community and City interest in improving PPB’s community

           relationships. The community is a critical resource. Soliciting community input regarding PPB’s

           performance, while also enhancing PPB’s current community outreach efforts, will promote

           community confidence in PPB and facilitate police/community relationships necessary to promote

           public safety.

                   141.     To leverage the ideas, talent, experience, and expertise of the community, the City, in

           consultation with DOJ, shall establish a Portland Committee on Community Engaged-Policing

           (“PCCEP”), within 90 days of the Effective Date of the relevant amendments to this Agreement.

                   142.     The PCCEP shall be authorized to: (a) solicit information from the community and

           the PPB about PPB’s performance, particularly with regard to constitutional policing; (b) make

           recommendations to the Chief, Police Commissioner, the Director of the Office of Equity and

           Human Rights, and community and, during the effective period of this Agreement, to the DOJ; (c)

           advise the Chief and the Police Commissioner on strategies to improve community relations; (d)

           contribute to the development and implementation of a PPB Community Engagement Plan; and (e)

           receive public comments and concerns. The composition, selection/replacement process and

           specific duties of the PCCEP shall be set forth in a separate Plan for Portland Committee on

           Community-Engaged Policing (“the PCCEP Plan”) which shall be substantially similar to Exhibit 1

           to this Agreement. Amicus AMAC and Intervenor PPA shall be consulted regarding and DOJ shall

           review and approve any amendments to the PCCEP Plan proposed to occur during the effective

           period of this Agreement.

                   143.     PCCEP’s membership will come from a reasonably broad spectrum of the

           community. PCCEP members shall not have an actual or perceived conflict of interest with the City

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          of Portland.

                  144.    The City shall provide administrative support so that the PCCEP can perform the

          duties and responsibilities identified in this Agreement and in the PCCEP Plan.

                  145.    [Terminated Nov. 30, 2023, ECF 401] To ensure constitutional policing, to closely

          interact with the community to resolve neighborhood problems, and to increase community

          confidence, PPB shall work with City resources knowledgeable about public outreach processes and

          the PCCEP to improve its engagement with the community.

                  146.    [Terminated Nov. 30, 2023, ECF 401] Within 120 days of the effective date of the

          relevant Amendments to this Agreement, the City, in consultation with the PCCEP, will conduct

          another reliable, comprehensive and representative survey of members of the Portland community

          regarding their experiences with and perceptions of PPB’s community outreach efforts and

          accountability efforts and where those efforts could be improved, to inform the work of the

          PCCEP and the development and implementation of the Community Engagement Plan.

                  147.    [Terminated Nov. 30, 2023, ECF 401] PPB shall continue to collect appropriate

          demographic data for each precinct so that the Precinct Commander, considering any input from

          the PCCEP, may develop outreach and policing programs specifically tailored to the residents of

          the precincts. The data shall also be provided to PCCEP to inform its work.

                  148.    PPB shall continue to require that officers document appropriate demographic data

          regarding the subjects of police encounters, including the race, age, sex and perceived mental health

          status of the subject, and shall provide such information to the PCCEP and make such information

          publicly available to contribute to the analysis of community concerns regarding discriminatory

          policing. PPB shall consider enhancements to its data collection efforts, and report on its efforts to

          enhance data collection to the DOJ by no later than December 31, 2013, and quarterly thereafter.

                  149.    [Terminated Nov. 30, 2023, ECF 401] The COCL, PPB, and DOJ will jointly

          develop metrics to evaluate community engagement and outreach. PCCEP may review these


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          metrics and may suggest additional metrics to DOJ and PPB.

                  150.    Annually, PPB shall issue a publicly available PPB Annual Report, which shall

          include a summary of its problem-solving and community policing activities. A draft of the Annual

          Report shall be provided to the PCCEP for review and comment before the report is finalized and

          released to the public. Once released, PPB shall hold at least one meeting in each precinct area and

          at a City Council meeting, annually, to present its Annual Report and to educate the community

          about its efforts in community policing in regard to the use of force, and about PPB’s policies and

          laws governing pedestrian stops, stops and detentions, and biased-free policing, including a civilian’s

          responsibilities and freedoms in such encounters.

                  151.    PCCEP shall meet as needed to accomplish their objectives as set forth in the

          PCCEP Plan. PCCEP shall hold regular Town Hall meetings which shall be open to the public. To

          the extent that PCCEP meetings are subject to the Oregon Public Meetings Law, or similar

          regulatory or statutory requirements, the City shall be responsible to give advice necessary to the

          PCCEP to ensure compliance with those laws and agrees to represent PCCEP in any challenges

          regarding compliance with those laws.

                  152.    The City shall provide PCCEP members with appropriate training necessary to

          comply with requirements of City and State law.

                  X.      AGREEMENT IMPLEMENTATION AND ENFORCEMENT
                            [Superseded by Section XII, Nov. 30, 2023, ECF 401]

                  153.    [Superseded, Nov. 30, 2023, ECF 401] PPB shall implement immediately all

          provisions of this Agreement which involve the continuation of current policies, procedures, and

          practices specific to force, training, community- based mental health services, crisis intervention,

          employee information system, officer accountability, and community engagement. Except where

          otherwise specifically indicated, PPB shall implement all other provisions of this Agreement no later

          than within 180 days of the Effective Date.

                  154.    [Superseded, Nov. 30, 2023, ECF 401] With regard to any provision that provides

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          for DOJ’s review and approval, including review of all policies that must be revised, approval will be

          granted in a timely fashion provided that the PPB’s action reasonably satisfies the requirements and

          standards set forth in the relevant provision(s).

                   155.   [Superseded, Nov. 30, 2023, ECF 401] All PPB audits and reports related to the

          implementation of this Agreement shall be made publicly available via website and at PPB, IPR,

          City Hall, and other public locations. Audits and reports shall be posted on PPB’s website.

                   156.   [Superseded, Nov. 30, 2023, ECF 401] PPB shall collect and maintain all data and

          records necessary to facilitate and ensure transparency and wide public access to information

          related to PPB decision making and activities, and compliance with this Agreement, in accordance

          with the Oregon Public Records Law.

             A.      Compliance Officer/Community Liaison

                   157.   [Superseded, Nov. 30, 2023, ECF 401] Within 60 days from the Effective Date, the

          City shall publicly identify three potential candidates with expertise in police practices, community

          engagement, and crisis intervention methods, to serve as a Compliance Officer and Community

          Liaison (“COCL”). Following a 30-day public comment period, the City Council shall select a

          COCL, who shall be responsible for synthesizing data related to PPB’s use of force, reporting to the

          City Council, DOJ, and the public and gathering input from the public related to PPB’s compliance

          with this Agreement. The COCL shall not be attached to any one City office, shall be wholly

          independent of PPB, and shall be responsive to the entire City Council, the public, and DOJ. The

          City shall provide administrative support so that the COCL can perform the duties and

          responsibilities identified in this Agreement.

                   158.   [Superseded, Nov. 30, 2023, ECF 401] In order to collect data and report on PPB’s

          implementation of each substantive provision of this Agreement, the COCL shall conduct the

          reviews specified in paragraph 173 of this Agreement and such additional reviews regarding the

          implementation of this Agreement as the COCL, the City, or DOJ deems appropriate. Based on


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          the COCL’s reviews and community input, the COCL shall make recommendations to the City

          regarding measures necessary to ensure full and timely implementation of this Agreement.

                  159.    [Superseded, Nov. 30, 2023, ECF 401] The COCL shall prepare quarterly, written,

          public reports detailing PPB’s compliance with, and implementation of, this Agreement. The

          reports shall specify: (a) the methodology and monitoring activities employed; (b) the COCL’s

          assessment of compliance for each paragraph; and (c) the COCL’s recommendations regarding

          necessary steps to achieve compliance, as warranted. The COCL shall substantiate his or her

          compliance assessments and recommendations. The COCL’s reports shall be written with due

          regard for the privacy interests of individual officers and the subjects involved in the use of force

          interactions, and the interest of PPB in protecting against disclosure of non-public information.

                  160.    [Superseded, Nov. 30, 2023, ECF 401] The COCL shall provide a copy of all reports

          to the Parties in draft form and allow the Parties 30 days to informally comment on the reports. The

          COCL shall also hold open town hall meetings on a quarterly basis where he/she will present

          his/her draft compliance report to the public, and receive public comment on his/her assessments

          of compliance and recommendations. The public shall have the opportunity to raise comments or

          concerns at the open town hall meeting or via online and/or electronic mail submissions. The

          COCL and the City, in consultation with the PCCEP, shall ensure that the time and location of

          these quarterly town hall meetings are well publicized with sufficient advance notice and that

          significant efforts are made to procure attendance of a community body broadly representative of

          the many and diverse communities in Portland, including persons with mental illness, mental health

          providers, faith communities, minority, ethnic, and other community organizations, and student or

          youth organizations. These quarterly meetings shall facilitate the sharing of information on the

          Agreement and its implementation with the broad community body and permit the COCL to

          receive comments and concerns.

                  161.    [Superseded, Nov. 30, 2023, ECF 401] The COCL shall consider the Parties’


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          responses to its draft report and make appropriate changes, if any, before issuing a final version of

          the report. The COCL shall issue the final report to the Parties and make all final reports publicly

          available through posting on the City’s website. The Parties’ responses to the COCL’s draft report

          shall also be published on the City’s website. The Parties may submit any COCL reports to the

          Court if questions arise concerning compliance with this Agreement. The Parties agree that COCL

          reports may be used to evidence compliance or non-compliance with this Agreement, subject to

          the weight afforded to such reports by the Court.

             B.      PPB Compliance Coordinator

                   162.   [Superseded, Nov. 30, 2023, ECF 401] PPB will hire or retain an employee

          familiar with the operations of PPB for the duration of this Agreement, to serve as a PPB

          Compliance Coordinator. The Compliance Coordinator will serve as a liaison between PPB and

          both the COCL and DOJ and will assist with PPB’s compliance with this Agreement. At a

          minimum, the Compliance Coordinator will:

                          a.     Coordinate PPB’s compliance and implementation activities;

                          b.     Facilitate the provision of data, documents, materials, and access to PPB

                                 personnel to the COCL and DOJ, as needed;

                          c.     Ensure that all documents and records are maintained as provided in this

                                 Agreement;

                          d.     Assist in assigning compliance tasks to PPB personnel, as directed by the

                                 Chief of Police or the Chief’s designee; and

                          e.     Take primary responsibility for collecting the information the COCL requires

                                 to carry out his/her assigned duties.

             C.      Access to People and Documents

                   163.   [Superseded, Nov. 30, 2023, ECF 401] The COCL shall have full and direct access to

          all PPB and City staff, employees, facilities, and documents that the COCL reasonably deems


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          necessary to carry out his/her duties. If a document requested by the COCL is a privileged attorney-

          client communication, the COCL shall not disclose the document in a manner that destroys that

          privilege without the approval of the City Attorney. The COCL shall cooperate with PPB and the

          City to access people, facilities, and documents in a reasonable manner that minimizes, to the extent

          possible, interference with daily operations. In order to report on PPB’s implementation of this

          Agreement, the COCL shall regularly conduct reviews to ensure that PPB implements and continues

          to implement all measures required by this Agreement. The COCL may conduct on-site reviews

          without prior notice to PPB or the City.

                  164.    [Superseded, Nov. 30, 2023, ECF 401] For the purpose of monitoring this

          Agreement, DOJ and its consultative experts and agents shall have full and direct access to all PPB

          and City staff, employees, facilities, and documents, that DOJ reasonably deems necessary to carry

          out the enforcement and monitoring provisions of this Agreement to the extent permitted by law.

          DOJ and its consultative experts and agents shall cooperate with PPB and the City to access

          involved personnel, facilities, and documents in a reasonable manner that minimizes interference

          with daily operations; however, DOJ may conduct on-site reviews without prior notice to PPB or

          the City. DOJ shall provide PPB or the City with reasonable notice of a request for copies of

          documents. Upon such request, PPB or the City shall provide DOJ with copies (electronic, where

          readily available) of any documents that DOJ is entitled to access under this Agreement, except any

          documents protected by the attorney-client privilege. Should PPB decline to provide DOJ with

          access to a document based on attorney-client privilege, PPB promptly shall provide DOJ with a log

          describing the document, including its author, recipients, date of production, and general topic.

                  165.    [Superseded, Nov. 30, 2023, ECF 401] All non-public information provided to the

          COCL or DOJ by PPB or the City shall be maintained in a confidential manner. Nothing in this

          Agreement requires the City to disclose documents protected from disclosure by the Oregon

          Public Records Law to third parties.


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             D.      Review of Policies and Investigations

                   166.   [Superseded, Nov. 30, 2023, ECF 401] Within 180 days of the Effective Date, PPB

          shall revise and/or develop its policies, procedures, protocols, training curricula, and practices to

          ensure that they are consistent with, incorporate, address, and implement all provisions of this

          Agreement specific to force, training, community-based mental health services, crisis intervention,

          employee information system, officer accountability, and community engagement. PPB shall revise

          and/or develop as necessary other written documents such as handbooks, manuals, and forms, to

          effectuate the provisions of this Agreement. PPB shall send new or revised policies, procedures,

          protocols, and training curricula regarding use of force, interactions with persons in mental health

          crisis and systems of accountability to DOJ as they are promulgated, with a copy to the COCL. DOJ

          and the COCL will provide comments within 45 days and will not unreasonably withhold

          recommendations about policies, procedures, protocols, and training curricula. The COCL shall seek

          the timely input of the relevant members of the Training Division and patrol officers, as well

          members of the community. If the City disagrees with DOJ’s comments, the City shall, within 14

          days of being informed of the DOJ’s comments, inform the Parties in writing of the disagreement.

          Within 14 days thereafter, the Parties shall meet and confer on the disagreement at a mutually

          agreeable time. Upon approval by the Parties, policies, procedures, training curricula, and manuals

          shall be implemented within 30 days of agreement or the Court’s decision. PPB shall provide initial

          and in-service training to all officers and supervisors with respect to newly implemented or revised

          policies and procedures. PPB shall document employee review of and training in new or revised

          policies and procedures.

                   167.   [Superseded, Nov. 30, 2023, ECF 401] The Chief shall post on PPB’s website final

          drafts of all new or revised policies that are proposed specific to force, training, community-based

          mental health services, crisis intervention, employee information system, officer accountability, and

          community engagement, to allow the public an opportunity for notice and comment, prior to


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          finalizing such policies.

                  168.    [Superseded, Nov. 30, 2023, ECF 401] The Chief’s Office shall coordinate a review

          of each policy or procedure required by this Agreement 180 days after such policy or procedure is

          implemented, and annually thereafter (on a regularly published schedule), to ensure that such policy

          or procedure provides effective direction to PPB personnel and remains consistent with the

          purpose and requirements of this Agreement.

                  169.    [Superseded, Nov. 30, 2023, ECF 401] PPB shall apply policies uniformly and hold

          officers accountable for complying with PPB policy and procedure.

                  170.    [Superseded, Nov. 30, 2023, ECF 401] In addition to compliance reviews, the

          COCL shall lead semi-annual qualitative and quantitative outcome assessments to measure

          whether the City and PPB’s implementation of this Agreement has created: (1) capable systems

          and resources for responding to persons in mental health crisis; (2) competent accountability and

          oversight systems; (3) effective training for police officers that increases the knowledge, skills and

          abilities necessary for effective and successful delivery of service to persons in mental health crisis;

          (4) proper management of the use of force to meet constitutional standards; and (5) robust systems

          of community engagement. These outcome assessments shall be informed by the following:

                          a.          Use of Force Data:

                               i.      the number of police interactions where force was used on individuals with

                                       actual or perceived mental illness, including the type of force used; the

                                       reason for the interaction, i.e., suspected criminal conduct or a well- being

                                       check; the threat to public safety, including whether the person was armed

                                       and if so, with what; a description of the type of resistance offered, if any;

                                       and a description of any attempts at strategic disengagement;

                               ii.     the rate of force used per arrest by PPB; force implement used; geographic

                                       area (i.e., street address, neighborhood, or police precinct or district); type


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                                        of arrest; and demographic category;

                               iii.     the rate of force complaints that are sustained, overall and by force type;

                                        source of complaint (internal or external); type of arrest; type of force

                                        complained of; demographic category;

                               iv.      uses of force that were found to violate policy overall and by force type;

                                        type of arrest; demographic category; force implement used; and number

                                        of officers involved;

                               v.       the number and rate of use of force administrative investigations/reviews

                                        in which each finding is supported by a preponderance of the evidence;

                               vi.      the number of officers who frequently or repeatedly use force, or have

                                        more than one instance of force found to violate policy;

                               vii.     the rate at which ECW usage decreases or increases compared to the use of

                                        force overall and by weapon; and

                               viii. the rate at which officer and subject injuries decrease or increase overall

                                        and by severity of injury.

                          b.          Mental health interaction data on:

                               i.       MCPT dispositions;
                               ii.      the flow of people in mental health crisis through PPB, the County jail,

                                        emergency receiving facilities, and community agencies;

                               iii.     officer and agency staff satisfaction with the transfer process;

                               iv.      the rate of repeat calls for service involving individuals in mental health

                                        crisis;

                               v.       the use of the mental health commitment law; and

                               vi.      the availability of appropriate treatment options;

                          c.          Training data, including:

                               i.       officer evaluation of adequacy of training; and

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                               ii.      the Training Division’s assessment of incidents involving officer or civilian

                                        injury.

                          d.          Performance data, including:

                               i.       uses of force found to be unreasonable, complaints sustained and not

                                        sustained, and other performance related indicators for

                                        supervisors/commanders promoted pursuant to the requirements of

                                        this Agreement, and for the units these supervisors/commanders

                                        command; and initial identification of officer violations and

                                        performance problems by supervisors, and effectiveness of

                                        supervisory response.

                          e.          Accountability data, including:

                               i.       the number of complaints (broken out by type of complaint), with a

                                        qualitative assessment of whether any increase or decrease appears related

                                        to access to the complaint process;

                               ii.      rate of sustained, not sustained, exonerated complaints;

                               iii.     the number and rate of complaints in which the finding for each allegation

                                        is supported by a preponderance of the evidence;

                               iv.      the number of officers who are subjects of repeated complaints, or have

                                        repeated instances of sustained complaints; and

                               v.       the number, nature, and settlement amount of civil suits against PPB

                                        officers regardless of whether the City is a defendant in the litigation.

                  171.    [Superseded, Nov. 30, 2023, ECF 401] In conducting these outcome assessments,

          the COCL may use any relevant data collected and maintained by PPB, provided that it has

          determined, and the Parties agree, that this data is reasonably reliable and complete. Additionally,

          the COCL shall solicit input from community groups or initiatives that have relevant experience



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          conducting statistical analyses. The COCL will contribute to and review the Annual Community

          Survey.

                    172.   [Superseded, Nov. 30, 2023, ECF 401] Two years after the Effective Date, DOJ

          shall conduct a comprehensive assessment to determine whether and to what extent the outcomes

          intended by the Agreement have been achieved. DOJ will further examine whether any

          modifications to the Agreement are necessary in light of changed circumstances or unanticipated

          impact (or lack of impact) of the Agreement’s requirements. This assessment also shall address areas

          of greatest achievement and the requirements that appear to have contributed to this success, as

          well as areas of greatest concern, including strategies for accelerating full and effective compliance.

          Based upon this comprehensive assessment, DOJ may recommend modifications to the Agreement

          that are necessary to achieve and sustain intended outcomes. Where the City agrees with DOJ’s

          recommendations, the Parties shall stipulate to modify the Agreement accordingly. Nothing in this

          assessment shall empower DOJ to unilaterally modify the terms of this Agreement.

             E.       City Reports and Records

                    173.   [Superseded, Nov. 30, 2023, ECF 401] Beginning with the COCL’s first quarterly

          report, as set forth in paragraph 166 of this Agreement, PPB shall prepare a status report no later

          than 45 days before the COCL’s quarterly report is due. The PPB Compliance Coordinator shall

          lead the effort in preparing this status report and shall provide copies to the COCL, DOJ, and the

          public. PPB’s report shall delineate the steps taken by PPB during the reporting period to comply

          with each provision of this Agreement.

                    174.   [Superseded, Nov. 30, 2023, ECF 401] PPB shall maintain all records, as applicable,

          necessary to document their compliance with the terms of this Agreement and all documents

          expressly required by this Agreement.

             F.       Enforcement

                    175.   [Superseded, Nov. 30, 2023, ECF 401] The Parties agree jointly to file this


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          Agreement with the United States District Court for the District of Oregon, in a matter to be

          captioned United States v. City of Portland, Civil Action No. --CV--. The joint motion shall request

          that the Court enter the Agreement pursuant to Federal Rule of Civil Procedure 41(a)(2), and

          conditionally dismiss the complaint in this action with prejudice, while retaining jurisdiction to

          enforce the Agreement. If the Court does not retain jurisdiction to enforce the Agreement, the

          Agreement shall be void.

                          a.      The Parties anticipate that the City will have substantially complied with all

                                  provisions of the Agreement by October 12, 2017. Substantial compliance is

                                  achieved if any violations of the Agreement are minor or occasional and are

                                  not systemic.

                          b.      The Court shall retain jurisdiction of this action for all purposes until the City

                                  has substantially complied with all provisions of this Agreement and maintain

                                  substantial compliance with all provisions for one year.

                          c.      The Parties may agree to jointly ask the Court to terminate the Agreement

                                  before the end of the five year term, provided the City has substantially

                                  complied with all provisions of the Agreement and maintained substantial

                                  compliance with all provisions for one year. If the case has not yet been

                                  dismissed, the Parties agree to ask the Court for a non-evidentiary hearing on

                                  the status of compliance on or near October 12, 2017. If the Parties agree

                                  that there is non-compliance, or if there is a dispute about compliance, the

                                  Parties will so inform the Court, and the Court may set additional hearing

                                  dates as appropriate. The Parties may agree jointly at any time to allow for

                                  additional time to resolve compliance issues.

                  176.    [Superseded, Nov. 30, 2023, ECF 401] The United States acknowledges the good

          faith of PPB and the City in trying to address the remedial measures that are needed to promote


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          police integrity and ensure constitutional policing in the City. The United States, however, reserves

          its right to seek enforcement of the provisions of this Agreement if it determines that PPB or the

          City have failed to fully comply with any provision of this Agreement.

                  177.    [Superseded, Nov. 30, 2023, ECF 401] The United States understands that many

          portions of this Agreement will take time to implement and that implementation may require

          changes to, among other things, collective bargaining agreements, the city code, and current city

          policies and will likely require additional revenue resources that have not yet been identified at the

          time this Agreement is executed.

                  178.    [Superseded, Nov. 30, 2023, ECF 401] If the United States reasonably believes the

          City has failed to implement the terms of the Agreement, it shall promptly notify the City in writing

          and identify with specificity the portion or portions of the Agreement about which it has concerns.

          Similarly, if the City believes that DOJ has misinterpreted a provision of this Agreement it may

          promptly notify DOJ of its concerns, noting the specific portions of the Agreement that it believes

          has been misinterpreted.

                  179.    [Superseded, Nov. 30, 2023, ECF 401] Notices provided by the United States or by

          the City shall be in writing and provided by mail to the following persons:

                    Chief of Police                          City Attorney
                    1111 SW Second                           1221 SW 4th Avenue, Suite #430
                    Portland, Oregon 97204                   Portland, Oregon 97204

                    Section Chief                            U.S. Attorney
                    Special Litigation Section               District of Oregon
                    950 Pennsylvania Ave., N.W.              1000 S.W. Third Ave., Suite 600 Washington, D.C.
                    20530                                    Portland, OR 97204

                  180.    [Superseded, Nov. 30, 2023, ECF 401] Following receipt by mail of any written

          Notice, the City or DOJ shall respond in writing within 30 days to the concerns raised by the other

          Party. Depending on the nature and number of the concerns the City or DOJ may request additional

          time to respond, and such a request shall not be unreasonably denied. The Notice and the Party’s

          Response thereto shall be considered to be in the nature of settlement discussions between the

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          Parties and subject to Federal Rule of Procedure 408.

                  181.    [Superseded, Nov. 30, 2023, ECF 401] If the Response fails to resolve the other

          Party’s concerns, the Parties agree to meet as soon thereafter as is mutually convenient to discuss

          the City’s compliance with the portion(s) of the Agreement identified in the Notice or the

          interpretation of the Agreement by DOJ. Persons attending the meeting shall have authority to

          resolve the concerns, unless resolution of the concern requires adoption of an ordinance or

          resolution by City Council or by the Assistant Attorney General in Charge of the DOJ Civil Rights

          Division.

                  182.    [Superseded, Nov. 30, 2023, ECF 401] If a meeting between the Parties fails to

          resolve the concerns, the Parties agree to participate in mediation conducted by a neutral third

          party mutually agreeable to the Parties. If the Parties cannot agree upon the selection of a

          mediator, the Parties shall submit three names of potential mediators to each other. Each Party

          may then strike two of the three names provided by the other Party. The remaining two names

          shall be given to the Chief Judge of the U.S. District Court for the District of Oregon and the

          Chief Judge shall appoint the mediator from one of the names provided.

                  183.    [Superseded, Nov. 30, 2023, ECF 401] If mediation fails to resolve the concerns, the

          United States or the City may file a Motion in the Federal District Court for the District of Oregon,

          located in Portland, Oregon, to enforce compliance with the terms of this Agreement or to seek a

          Declaration of the meaning of this agreement. The Motion or request for Declaration shall only

          allege concerns raised by the Parties which were the subject of mediation. The Parties shall then

          meet with the court to schedule a date on which the Motion or Declaration shall be heard or will

          otherwise comply with the court’s preferred procedure. The Parties agree the Judge hearing the

          Motion shall determine whether or not the Agreement has been breached and may interpret the

          meaning of the Agreement and has the power to issue an appropriate remedy, if any. If, for any

          reason, the Judge finds the City is not in compliance with the Agreement, but that noncompliance


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          was beyond the reasonable control of the City, the City shall not be in breach of this Agreement.

          However, in the event of noncompliance beyond the reasonable control of the City, the Parties

          agree that the Court may exercise its equitable powers to devise an appropriate remedy or

          modification of this Agreement to accomplish the same result as that intended by the portion of the

          Agreement with which noncompliance was found, provided the Parties cannot reach agreement on

          the remedy or modification.

                  184.    [Superseded, Nov. 30, 2023, ECF 401] Nothing prohibits the Parties from

          engaging in any informal or formal discussions regarding this Agreement or the City’s compliance

          with this Agreement. The Parties may jointly stipulate to make changes, modifications, and

          amendments to this Agreement, which shall be effective, absent further action from the Court, 45

          days after a joint motion has been filed with the Court. Any modification of this Agreement by the

          City of Portland must be approved by the City Council of the City by written ordinance.

                  185.    [Superseded, Nov. 30, 2023, ECF 401] The Parties agree to defend the

          provisions of this Agreement. The Parties shall notify each other of any court or administrative

          challenge to this Agreement. In the event any provision of this Agreement is challenged in any

          City, county, or state court, removal to a federal court shall be sought by the Parties.

                  186.    [Superseded, Nov. 30, 2023, ECF 401] The PPB and the City agree to promptly

          notify DOJ if any term of this Agreement becomes subject to collective bargaining. The City agrees

          to keep DOJ apprised of the status of the resulting negotiations.

                  187.    [Superseded, Nov. 30, 2023, ECF 401] All PPB officers and persons related to the

          implementation of this Agreement shall sign a statement indicating that they have read and

          understand this Agreement within 90 days of the effective date of this Agreement. Such statement

          shall be retained by PPB. PPB shall require compliance with this Agreement by their respective

          officers, employees, agencies, assigns, or successors.




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                            XI.     ADDENDUM OF ADDITIONAL REMEDIES

                  On April 2, 2021, the United States issued a notice of noncompliance pursuant to Paragraph

          178. The purpose of this Addendum is to ensure that the City, by and through its officials, agents,

          employees, and bureaus, takes actions to resolve the concerns expressed by the United States in the

          noncompliance notice. Specifically, the United States found that the City failed to implement the

          following provisions of this Agreement: Section III – Use of Force, Paragraphs 66, 67, 69, 70, and

          73; Section IV – Training, Paragraphs 78 and 84; Section VIII – Officer Accountability, Paragraphs

          121, 123, and 169; and Section IX – Community Engagement and Creation of Portland Committee

          on Community Engaged Policing, Paragraph 150. The City does not admit that the allegations of

          noncompliance are true.

                  188.    The City shall revise Force Data Collection Report (FDCR) and After Action Report

          forms to capture when the forms are edited and completed as part of PPB’s implementation of

          Office365, which is ongoing. In the interim, pursuant to a process approved by the United States,

          PPB shall capture in the existing FDCR and After Action Report forms the author’s name and the

          time and date of initial submission and any subsequent edits, as well as the name, time, and date of

          each level of review.

                  189.    Before November 25, 2021, the City shall provide funding for a qualified outside

          entity to critically assess the City’s response to crowd control events in 2020 in a public-facing report

          and prepare a follow-on review of the City’s response to the report. The City will use the report to

          prepare a training needs assessment. The report, training needs assessment, and follow-on review

          will be completed consistent with a Scope of Work and deadlines agreed upon by the City and the

          United States, and such agreement shall not be unreasonably withheld by either Party. If the City

          demonstrates to the United States that significant progress is being made toward meeting the

          obligations under the agreed upon Scope of Work and deadlines, the City may request a reasonable

          modification of the Scope of Work or extension of deadlines, which the United States shall not


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          unreasonably decline.

                  190.    Before November 25, 2021, the City shall provide in the budget a separate line item

          for overtime costs to conduct necessary training for PPB officers. The City shall include a similar

          line item in subsequent budgets for the duration of this Agreement.

                  191.    Before November 25, 2021, the City shall budget for a qualified civilian in PPB to

          direct all educational aspects of PPB’s Training Division alongside the Captain of the Training

          Division, who will direct administrative aspects of PPB’s Training Division. The respective roles

          and responsibilities of the civilian and the Captain are outlined in Attachment 1 appended to this

          Agreement, provided that the Parties may agree to modify those roles and will not unreasonably

          withhold such agreement. Once funding is provided, the City shall post the position within 90 days.

          Once the position is posted, the City shall make a job offer to a suitable candidate and complete any

          required background screenings within 150 days. If the City demonstrates to the United States that

          no suitable candidate applied for or accepted the position, or that the City is otherwise making

          significant progress toward meeting the deadlines in this Paragraph, the City may request a

          reasonable extension of time to fill the position, which the United States shall not unreasonably

          withhold.

                  192.    Within 60 days of the date this paragraph is entered as an order of the Court, the

          City shall initiate an appropriate investigation through IPR to identify: (a) the PPB Lieutenant(s) and

          above who trained Rapid Response Team members to believe that they could use force against

          individuals during crowd control events without meeting the requirements of PPB Directive

          1010.00; (b) the PPB incident commander(s) and designee(s) with the rank of Lieutenant or above

          who directed or authorized any officer to use force in violation of PPB Directive 1010.00, or who

          failed to ensure that FDCRs and After Action Reports arising from the crowd control events

          starting on May 29, 2020, and ending on November 16, 2020, were completed as required by Section

          13.1 of PPB Directive 635.10; and (c) the PPB Commanders and above who failed to timely and


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          adequately clarify misunderstandings and misapplications of PPB policy (including this Agreement)

          governing the use, reporting, and review of force during the crowd control events starting on May

          29, 2020, and ending on November 16, 2020. Once the IPR investigation is complete, the Police

          Commissioner and/or the Chief of Police, as required by this Agreement, shall hold accountable

          those investigated members of the rank of Lieutenant and above who are determined to have

          violated PPB policies (including this Agreement) as outlined in this paragraph. The Parties affirm

          the obligation in this Agreement and Directive 330 for IPR and PPB to investigate any sworn

          member if, during the investigations of Lieutenants and above required by this paragraph,

          information is discovered suggesting that any sworn member may have violated PPB policy or this

          Agreement.

                  193.    In addition to the requirements of paragraph 150 of this Agreement, PPB shall

          release its Annual Report and hold the required precinct meetings no later than September 20 of

          each year for the duration of this Agreement.

                  194.    Within 210 days of the date this paragraph is entered as an order of the Court, the

          City shall implement body-worn cameras (BWCs) pursuant to a policy that is subject to the policy-

          review-and-approval provisions of this Agreement; provided, however, if the City is making

          substantial progress this deadline may be extended by agreement of the United States, which shall

          not be unreasonably withheld.

                          a.     The City will comply with any collective bargaining obligations it may have

                                 related to BWCs, which the City agrees to fulfill expeditiously and in

                                 compliance with its obligation to bargain in good faith.

                          b.     Within 60 days of the date this paragraph is entered as an order of the Court,

                                 the Compliance Officer shall gather public input on the use of BWCs and

                                 provide this information and any technical assistance to the public and the

                                 Parties to inform the drafting of a policy. The United States reserves its


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                                 policy review rights related to the BWC program under the terms of this

                                 Agreement.

                          c.     If the City has not finally discharged its collective bargaining obligations as to

                                 BWCs within 120 days of the date this paragraph is entered as an order of

                                 the Court, the Parties stipulate that the Court may thereafter hold periodic

                                 status conferences every 60 days to receive an update on the procedural

                                 status of the collective bargaining process related to BWCs. The City will

                                 provide a final procedural status update upon the completion of the

                                 collective bargaining process. The United States reserves its enforcement

                                 rights related to the BWC program under the terms of this Agreement. If

                                 collective bargaining or any related arbitration or appeal results in a BWC

                                 program that the United States determines, in its sole and absolute

                                 discretion, will not adequately resolve the compliance concerns identified in

                                 the April 2, 2021 notice of noncompliance, the Parties agree that the United

                                 States can seek court enforcement pursuant to paragraph 183, without

                                 having to repeat the steps laid out in paragraphs 178 to 182.

                  195.    In 2020, the City referred to voters a ballot measure that would overhaul the police

          accountability system incorporated into this Agreement by establishing a new Community Police

          Oversight Board to replace IPR for investigations of certain complaints of police misconduct and to

          replace the Chief of Police for imposition of discipline. City voters approved the ballot measure.

          The City has since empowered a 20-member civilian Commission to define the duties and authority

          of the Oversight Board and submit a proposal to City Council for final approval.

                          a.     Before January 1, 2022, the City Council and Auditor shall each present a

                                 plan to the United States for an orderly transition to the Community

                                 Police Oversight Board by ensuring the continuity of IPR operations


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                                 while the Commission develops the Oversight Board for City Council’s

                                 approval. The United States shall determine whether either of these two

                                 plans is acceptable. City Council will then adopt a plan that the United

                                 States has determined is acceptable. The Parties agree that the adopted

                                 plan shall be appended to this Agreement and will become part of this

                                 Order, provided that the Parties may agree to modify the plan if

                                 warranted by the circumstances. Until the Oversight Board becomes

                                 operational, the City shall ensure that administrative investigations are

                                 completed as required by Section VIII – Officer Accountability and that

                                 officers are held accountable for violating PPB policy and procedure as

                                 required by Paragraph 169.

                          b.     Within 18 months of the date this paragraph is entered as an order of the

                                 Court, the Commission shall propose to City Council changes to City Code

                                 to create a new police oversight system as reflected in the City of Portland

                                 Charter amendment establishing a Community Police Oversight Board.

                                 Within 60 days of receiving the Commission’s proposal, the City will propose

                                 amendments to City Code to address the Commission’s proposal, and

                                 corresponding amendments to this Agreement, subject to the United States’

                                 and the Court’s approval, to ensure full implementation of the Oversight

                                 Board and effective police accountability, consistent with the requirements of

                                 this Agreement. Within 21 days of the approval of the amendments to the

                                 Agreement by the United States and the Court, the City Council shall

                                 consider and vote on the conforming City Code provisions creating the

                                 Oversight Board. Within 12 months of the Council’s adoption of the City

                                 Code provisions, the new Oversight Board shall be staffed and operational,


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                                   and IPR shall then cease taking on new work and complete any pending

                                   work. For good cause shown, the deadlines imposed by this subparagraph

                                   (b) may be reasonably extended provided that the City is in substantial

                                   compliance with subparagraph (a).

                            c.     The City will comply with any collective bargaining obligations it may have

                                   related to the Oversight Board, which the City agrees to fulfill expeditiously

                                   and in compliance with its obligation to bargain in good faith.

                   XII.     AGREEMENT IMPLEMENTATION AND ENFORCEMENT
                                 [Supersedes Section X, Nov. 30, 2023, ECF 401]

             A.    Implementation

                   196.     The City shall implement immediately all provisions of this Agreement which

          involve the continuation of current policies, procedures, and practices specific to force, training,

          community-based mental health services, crisis intervention, employee information system, officer

          accountability, and community engagement. Except where otherwise specifically indicated, the City

          shall implement all other provisions of this Agreement no later than within 180 days of the

          Effective Date.

                   197.     With regard to any provision that provides for review and approval by the DOJ or

          the Monitor, approval will be granted in a timely fashion provided that the PPB’s action reasonably

          satisfies the requirements and standards set forth in the relevant provision(s).

                   198.     All PPB audits and reports related to the implementation of this Agreement shall be

          made publicly available via website and at PPB, IPR, City Hall, and other public locations. Audits

          and reports shall be posted on PPB’s website.

                   199.     PPB shall collect, and maintain, and post for public download all data and records

          necessary to facilitate and ensure transparency and wide public access to information related to PPB

          decision making and activities, and compliance with this Agreement, in accordance with the Oregon

          Public Records Law.

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                   200.     All PPB officers and persons related to the implementation of this Agreement shall

          sign a statement indicating that they have read and understand this Agreement within 90 days of the

          effective date of this Agreement. When there are amendments to this Agreement, PPB officers and

          persons related to the implementation of this Agreement shall acknowledge review and

          understanding of the amendments within 90 days of the effective date of the amendments. Such

          statements and acknowledgements shall be retained by PPB. PPB shall require compliance with this

          Agreement and any amendments by their respective officers, employees, agencies, assigns, or

          successors.

             B.         Independent Monitor

                   201.     An Independent Monitor (Monitor) shall assess the City’s compliance with, and

          implementation of, this Agreement. The Monitor will include a team of people with expertise in

          policing, civil rights, data analysis and auditing, project management, behavioral health, emergency

          dispatch, and writing about complex matters succinctly in plain language intended for a general

          audience. The Monitor will work with the Parties to identify and address any barriers to substantial

          compliance and report regularly on the City’s progress.

                   202.     The Monitor will have only the role, responsibilities, and authority conferred by this

          Agreement. The Monitor will not, and is not intended to, replace or assume the role or

          responsibilities of any City or PPB employee, including the Police Commissioner, or any other City

          official. It is not the Monitor’s role to change either the scope or the terms of this Agreement.

                   1.       Selection, Term, Compensation, and Replacement

                   203.     Within 15 days of the date this paragraph is entered as an order of the Court, or

           additional time if mutually agreed to by the Parties, the Parties will agree on the terms the City will

           include in a Request for Proposal. The City will post the Request for Proposal within 15 days of the

           agreement.

                   204.     Within 60 days of the date of the posting of the Request for Proposal, or additional


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          time if mutually agreed to by the Parties, the Parties will jointly select three finalists to be the

          Monitor, after considering input from the Intervenor-Defendant Portland Police Association (PPA),

          Enhanced Amicus Albina Ministerial Alliance Coalition for Justice and Police Reform (AMAC), and

          Amicus Mental Health Alliance (MHA). The Parties will evaluate Monitor applications based on,

          but not limited to: ethics; subject matter expertise in policing; project management capacity; ability

          to write about complex matters succinctly in plain language intended for a general audience;

          commitment to establish a local presence; demonstrated experience, willingness, and ability to solicit

          and obtain meaningful community participation; ability to seek out varied stakeholder interests and

          perspectives, including law enforcement, the Black community, communities of color, mental health

          communities, and LGBTQIA+ communities; demonstrated knowledge about Portland’s history of

          policing, mental health needs and services, and institutional racism, and willingness to expand upon

          that knowledge.

                  205.    The Parties may interview each team member of Monitor applicants in determining

          or assessing the three finalists and will invite a representative from the PPA, AMAC, MHA, and the

          PCCEP to observe any such interview and, thereafter, offer their comments on the candidates for

          consideration by the Parties. The Parties will publicly announce the three finalists through various

          media intended to reach diverse populations, will post their resumes and proposed team members’

          profiles on the City website, and will provide and advertise a 32-day public comment period. Within

          two weeks of being announced, the finalists will participate in a public town hall forum, hosted by

          the Parties, to answer facilitated community questions about their experience, qualifications, and

          approach to monitoring the terms of the Agreement. The town hall will be held in a manner that is

          easily accessible, will allow for remote participation, and will be widely publicized to encourage

          broad participation.
                                                          -
                  206.    Within 30 days of the date of the close of the public comment period, the Parties

          will jointly select a candidate for the Court to appoint as the Monitor. In selecting the final


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          candidate, the Parties will consider public input and any input from the PPA, AMAC, MHA, and

          PCCEP. The Parties’ joint selection of a Monitor will be subject to the Court’s appointment,

          provided that the Monitor’s activities will be governed solely by the terms of this Agreement. The

          Court will give deference to the Parties’ joint selection of the Monitor. If the Court does not

          appoint the Parties’ selection, the Court will meet and confer with the Parties and then refer the

          Parties to mediation for selection of another candidate for the Court's consideration. The Parties

          shall hold one session after Court referral to mediation and thereafter will jointly select another

          candidate to serve as Monitor subject to the Court’s appointment and with deference to the Parties’

          selection. The process of selecting a Monitor for Court appointment shall continue until the Court

          makes an appointment.

                  207.    If the Parties are unable to agree on a joint selection, the Parties agree to engage in

          mediation pursuant to Paragraph 271 of this Agreement. If the Parties are unable to agree on a

          selection within one mediation session, each Party may submit to the Court a proposed Monitor,

          and the Court will give deference to those proposals in selecting and appointing the Monitor, after a

          hearing and opportunity for public comment, and input from the PPA, AMAC, MHA, and the

          PCCEP. If Court does not accept either candidate, the Court will meet and confer with the Parties

          and then refer the Parties to mediation for selection of additional candidate(s) for the Court’s

          consideration. Subject to the mediator’s discretion and invitation, such mediation shall include the

          PPA, AMAC, and MHA.

                  208.    During the Monitor selection process, the City will continue to fund the COCL

          position to continue the COCL’s duties under the prior version of this Agreement (ECF 354-1).

          The City will continue to fund the COCL during a period of transition to the appointed Monitor for

          no fewer than 30 days after the Monitor begins work; provided, however, if the contract with the

          current COCL expires while the Parties are in the process of transitioning to a Monitor as provided

          herein, the Parties may agree to select a temporary COCL or suspend the COCL requirements and


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          duties during the transition to a Monitor. The COCL shall provide the Monitor with a copy of

          reports and methodologies and debrief the Monitor on the status of the City’s compliance and any

          barriers to implementation.

                  209.    The Monitor will be appointed for a term of two years, which may be extended for

          additional two-year terms if the Parties jointly request, and the Court approves. The Parties will

          consult with the PPA, AMAC, MHA, and PCCEP and will consider their input before seeking to

          extend the Monitor’s appointment for additional two-year terms. In deciding whether to extend the

          appointment, the Court will give deference to the request of the Parties, and will consider public

          input, including that of the PPA, AMAC, MHA, and PCCEP, and the Monitor’s performance under

          this Agreement, including whether the Monitor is completing their work on time, within budget,

          and in a manner that facilitates the City’s ability to achieve substantial compliance with this

          Agreement.

                  210.    The Parties recognize the importance of constraining the Monitor’s fees and costs.

          Accordingly fees and costs will be a factor to consider in selecting the Monitor, including the ability

          to offer pro bono time or reduced rates, geographic proximity of the Monitor or team members to

          limit travel costs, affiliation with academic institutions or non-profit organizations, and willingness

          to enter an “alternative fee” arrangement that reduces costs and promotes efficiency by, for

          example, capping fees and costs at a flat rate that decreases each year as provisions of this

          Agreement become subject to self-monitoring and partial termination.

                  211.    The Monitor’s budget will be publicly filed with the Court. The Monitor will submit

          quarterly statements to the Parties and the Court detailing the work that they did for the quarter, as

          well as a projection for future work.

                  212.    The Monitor may request at any time to hire, employ, or contract with additional

          persons or entities reasonably necessary to perform the tasks assigned to the Monitor by this

          Agreement, but will be judicious in their decision to do so. Any such requests that exceed the annual


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          contracted amount will be subject to approval by City Council and DOJ, which may be decided at

          their respective discretion. Any person or entity so retained by the Monitor will be subject to the

          provisions of this Agreement. The Monitor will notify the Parties in writing of requests to retain

          such additional persons or entities and identify relevant qualifications. If the Parties agree with the

          proposal, the Monitor will be authorized to retain such additional persons or entities. All persons

          employed or retained by the Monitor shall successfully complete any required background checks

          before accessing applicable data, reports, or other information.

                  213.    If a dispute arises regarding the reasonableness or payment of the Monitor’s fees and

          costs, the City, DOJ, and the Monitor will attempt to resolve such dispute cooperatively. If the

          dispute remains unresolved, the City, DOJ, and the Monitor will engage in mediation pursuant to

          Paragraph 271 of this Agreement. Such mediation shall include the Monitor. For anything other

          than requests to exceed the annual contracted amount, either Party may file a motion petitioning the

          Court for relief pursuant to Paragraph 272 for disputes not resolved within 45 days of the start of

          mediation.

                  214.    If either Party to this Agreement determines that the Monitor, or members of the

          Monitor’s team, have exceeded their authority or failed to perform the duties required by this

          Agreement, the Party may, after consultation with the other Party and the Monitor, request

          mediation with the Monitor pursuant to Paragraph 271 of this Agreement. If the issue is not

          resolved within 45 days of the start of mediation, either Party may file a motion petitioning the

          Court for relief pursuant to Paragraph 272 of this Agreement. If either Party disagrees with another

          Party’s interpretation of authority or duties provided under this Agreement, the Party may request

          mediation with the Monitor pursuant to Paragraph 271 of this Agreement. If the dispute is not

          resolved within 45 days of the start of mediation, either Party may file a motion petitioning the

          Court for relief pursuant to Paragraph 272 of this Agreement.

                  215.    If the Monitor is no longer able to perform their functions, the Parties will meet and


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          confer to determine whether a Monitor is still necessary. If the Parties are unable to agree on

          whether a Monitor is still necessary, either Party may submit the dispute to mediation pursuant to

          Paragraph 271 of this Agreement. If the Parties are unable to resolve the dispute within 45 days of

          the start of mediation, either Party may file a motion petitioning the Court for relief pursuant to

          Paragraph 272 of this Agreement. If the Court decides that a Monitor is still necessary to oversee

          implementation of the Agreement, the Parties, after consideration of input from the PPA, AMAC,

          and MHA will jointly select a replacement Monitor for the Court to approve. If the Parties are

          unable to agree on a selection for replacement Monitor, the Parties will participate in mediation

          pursuant to Paragraph 271 of this Agreement. If the dispute is not resolved within 45 days of the

          start of mediation, each Party will submit a proposed replacement Monitor to the Court, along with

          resumes and cost proposals, and the Court will select and appoint the Monitor.

                   2.    Monitor’s Duties

                  216.    The Monitor’s core duties include: (a) developing a Monitoring Plan, updated at the

          beginning of each two-year term, to ensure reliable compliance assessments; (b) conducting semi-

          annual assessments of the City’s compliance with the terms of this Agreement; (c) conducting the

          outcome assessments required by this Agreement; (d) identifying barriers to compliance and

          providing recommendations on how to overcome such barriers; and (e) filing semi-annual reports

          with the Court that detail the status of the City’s progress in implementing this Agreement.

                         a.   Monitoring Plan

                  217.    Using as guidance prior COCL and DOJ Compliance Assessment Reports, within 30

          days of appointment, the Monitor will develop a plan for conducting compliance assessments and

          filing its reports (Monitoring Plan). The Parties will have 15 days to provide the Monitor with

          written comments on the draft Monitoring Plan. The Monitor will modify the draft Monitoring Plan

          as appropriate to address the comments or will inform the Parties in writing of the reasons for not

          modifying the draft. Either Party may submit unresolved disputes regarding the draft Monitoring


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          Plan to mediation with the Monitor pursuant to Paragraph 271 of this Agreement. If the Parties are

          unable to resolve the dispute within 45 days of the start of mediation, either Party may file a motion

          petitioning the Court for relief pursuant to Paragraph 272 of this Agreement.

                     218.   The Monitor shall file the final Monitoring Plan with the Court. The Monitoring

          Plan will, at a minimum: (a) delineate the requirements of this Agreement that the Monitor will

          assess for substantial compliance; (b) identify the assessments necessary to determine whether the

          City has reached substantial compliance; and (c) set a schedule for the Monitor’s two-year term,

          including assessments, outcome measurements, and reports that will ensure a semi-annual review of

          each discrete section, as defined below.

                     219.   If the Monitor is appointed for an additional two-year term, then the Monitor will

          file an updated Monitoring Plan with the Court after following the same process outlined in this

          section. The updated Monitoring Plan will, at a minimum, set a schedule for the Monitor’s two- year

          term, including assessments and reports that will ensure a semi-annual review of each substantive

          section.

                            b.   Compliance Assessments

                     220.   Six months after approval of the initial Monitoring Plan and every six months

          thereafter, the Monitor will assess whether the City is in substantial compliance with the

          requirements of this Agreement that are not subject to either self-monitoring or partial termination

          pursuant to Section XII, subsection G. Compliance assessments will contain the elements necessary

          for reliability and comprehensiveness. The Monitor may use sampling and compilation data where

          appropriate.

                     221.   Prior to initiating any audit pursuant to the Monitoring Plan, the Monitor will submit

          a proposed methodology to the Parties. The Parties will have 15 days to provide written comments

          on the proposed methodology. The Monitor will modify the methodology as appropriate to address

          the comments or will inform the Parties in writing of the reasons for not modifying the


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          methodology. Either Party may submit unresolved disputes involving the Monitor’s audit

          methodology to requested mediation with the Monitor pursuant to Paragraph 271 of this

          Agreement. If the Parties are unable to resolve the dispute within 45 days of the start of mediation,

          either Party may file a motion petitioning the Court for relief pursuant to Paragraph 272 of this

          Agreement.

                          c.   Outcome Measurements

                  222.     In addition to compliance reviews, the Monitor will conduct semi-annual qualitative

          and quantitative outcome assessments to measure whether the implementation of this Agreement

          has created: (1) capable systems and resources for responding to persons in mental health crisis; (2)

          competent accountability and oversight systems; (3) effective training for police officers that

          increases the knowledge, skills and abilities necessary for effective and successful delivery of service

          to persons in mental health crisis; (4) proper management of the use of force to meet constitutional

          standards; and (5) robust systems of community engagement. These outcome assessments will be

          informed by the following:

               a. Use of Force Data:

                     i. the number of police interactions where force was used on individuals in an actual or

                         perceived mental health crisis, including the type of force used; the reason for the

                         interaction, i.e., suspected criminal conduct or a well- being check; the threat to public

                         safety, including whether the person was armed and if so, weapon type; a description of

                         the facts and circumstances of resistance offered, if any; and a description of any attempts

                         at strategic disengagement or de-escalation;

                    ii. the rate of force used per arrest by PPB; force type used; geographic area (i.e., street

                         address, neighborhood, or police precinct); reason for arrest; and the subject’s age, gender,

                         race, and whether they were in an actual or perceived mental health crisis);

                   iii. the number of officers who repeatedly use force within the outcome measurement


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                          reporting period, or have more than one instance of force found to violate policy;

                      iv. number of officer and subject injuries resulting from force interactions, and force type used

                          by the officer; and

                      v. a comparison of the category of non-deadly use of force cases for force used against persons

                          in a mental health crisis and persons not in a mental health crisis.

               b. Mental health interaction data on:

                      i. Percentage of ECIT dispatched calls that have an ECIT officer on-scene;

                     ii. MCPT, currently known as Behavioral Health Response Team (BHRT), dispositions,

                         including the percent of outcomes that are due to behavioral health system coordination

                         (i.e., coordinated services, civil commitment, and systems coordination);

                     iii. the number of people with an actual or perceived mental illness encountered by PPB;

                     iv. the number of calls for service involving an individual with an actual or perceived mental

                         illness who has been the subject of a prior call for service related to their behavioral health;

                     v. the number of police officer holds placed by PPB officers; and

                     vi. the disposition of PPB service interactions (e.g., calls for service and BHRT interactions)

                         involving people with an actual or perceived mental illness (e.g., transfer to ambulance,

                         hospital, Unity Center, jail, juvenile detention; community mental health referrals; dis-

                         engagement; or none).

               c.    Training data, including:

                      i. the number of officers trained, by the type of training provided;

                     ii. Training Division response to Force Inspector’s referral of concerns of training deficiencies

                         identified through use of force reviews or investigations;

                     iii. officer evaluation of adequacy of training; and

                     iv. the Training Division’s assessment of incidents involving officer or subject injury.

               d. Performance data, including:


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                      i. uses of force found to be out of policy;

                     ii. force allegations sustained and not sustained; and

                     iii. initial identification of officer policy violations and performance problems by supervisors,

                            and effectiveness of supervisory response.

               e.    Accountability data, including:

                      i. the number of complaints (broken out by type of complaint);

                     ii. uses of force that were found to violate policy overall and by force type; reason for arrest;

                            the subject’s age, gender, race, and whether they were in an actual or perceived mental

                            health crisis; force type used; and number of officers involved;

                     iii. the number and rate of complaints that are sustained annually and by type; source of

                            complaint (internal or external); type of arrest; the subject’s age, gender, race, and whether

                            they were in an actual or perceived mental health crisis;

                     iv. the rate of complaints closed within 180 days, and the explanation for cases that take longer;

                     v. the number and rate of disposition of allegations categorized by finding for all finding types;

                     vi. the number and rate of complaints, including use of force complaints, in which the finding

                            for each allegation is supported by a preponderance of the evidence;

                    vii. the number of officers who are subjects of repeated complaints, or have repeated instances

                            of sustained complaints, other than auto accidents; and

                    viii. the number, nature, and settlement amount of civil suits against the City based on PPB

                            officers’ conduct but not including auto accidents.

                     223.      In conducting these outcome assessments, the Monitor may use any relevant data

          collected and maintained or owned by the City, provided that the Monitor determines, and the

          Parties agree, that the data is reasonably reliable and complete. The Monitor will also solicit input

          from community members and groups that have information or expertise relevant to an outcome

          assessment.


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                  224.    At least 45 days prior to the initiation of any outcome assessment, the Monitor will

          submit a proposed methodology to the Parties. The Parties will have 15 days to provide written

          comments on the proposed methodology. The Monitor will modify the methodology as appropriate

          to address the comments or will inform the Parties in writing of the reasons for not modifying the

          proposed methodology. Either Party may submit unresolved disputes involving the Monitor’s

          methodology to requested mediation with the Monitor pursuant to Paragraph 271 of this

          Agreement. If the Parties are unable to resolve the dispute within 45 days of the start of mediation,

          either Party may file a motion petitioning the Court for relief pursuant to Paragraph 272 of this

          Agreement.

                         d.   Recommendations

                  225.    The Monitor may make recommendations to the Parties regarding actions necessary

          to ensure timely substantial compliance with this Agreement. Such recommendations may include

          revising a policy related to this Agreement, conducting additional training, or seeking technical

          assistance. The Monitor has no authority to modify any aspect of this Agreement by making

          recommendations, or by any other means.

                         e.   Semi-Annual Monitor Reports

                  226.    Six months after approval of the Monitoring Plan and every six months thereafter,

          the Monitor will prepare a written public report that will:

                          a. Describe the work conducted by the Monitor during the reporting period;

                          b. List each requirement of this Agreement that is not subject to either self-

                              monitoring or partial termination;

                          c. Indicate which paragraphs the City has met requirements for substantial

                              compliance, how long the City has met such requirements, and the data and

                              evidence used to determine substantial compliance as required by this Agreement;

                          d. Indicate which paragraphs the City has not met requirements for substantial

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                              compliance, how long the City has not met such requirements, the data and

                              evidence used to determine lack of substantial compliance, and recommend steps

                              necessary to achieve and maintain substantial compliance;

                          e. Detail the data, evidence, and specific findings for each outcome assessment

                              conducted during the six-month reporting period;

                          f. Project the work to be completed during the upcoming reporting period, and any

                              anticipated challenges or barriers to substantial compliance with this Agreement;

                              and

                          g. For any requirements that the City is in partial compliance with, explain why the

                              City is not in substantial compliance and identify specific actions the City must

                              take to achieve substantial compliance.

                  227.    The Monitor will provide a copy of reports to the Parties in draft form within 45

          business days after the end of each reporting period. The Parties will have 15 days to provide

          confidential written comments to the draft report; however, nothing in this paragraph precludes the

          City and Monitor from communicating orally about the draft report. The Monitor will have 14 days

          to consider and make any revisions based on the Parties’ feedback. Then, the Monitor will post the

          draft report publicly for 32 days to receive any community input, during which the Monitor shall

          hold the town hall addressed in Paragraph 230. The Monitor will have 14 days to consider the

          community input, including from PPA, AMAC, MHA, and the PCCEP, before filing a final report

          with the Court. The Monitor shall substantiate its compliance assessments and recommendations.

          The Monitor’s reports shall be written with due regard for the privacy interests of individual officers

          and the subjects involved in the use of force interactions, and the interest of PPB in protecting

          against disclosure of non-public information. The Parties agree that Monitor reports may be used to

          evidence compliance or non-compliance with this Agreement, subject to the weight afforded to such

          reports by the Court.

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                  228.    The Court will hold semi-annual status conferences to discuss the Monitor’s

          reported assessments of whether the City is in substantial compliance with this Agreement, and may

          accept testimony from the PPA, AMAC, MHA, PCCEP and community members at those hearings.

                   3.    Monitor Communications and Conflicts of Interest

                  229.    The Monitor will maintain regular contact with the Parties to ensure effective and

          timely communication regarding the status of the City’s implementation of this Agreement. To

          facilitate this communication, the Monitor will hold regular status teleconferences and in-person or

          virtual meetings with the Parties on a schedule agreed upon by the Parties and the Monitor. The

          Parties may speak privately with the Monitor but may not direct the Monitor’s conduct or findings,

          shall respect the Monitor’s independence, and will give deference to the expertise of the Monitor.

          DOJ will not issue monitoring reports.

                  230.    The Monitor will hold town hall meetings twice a year to discuss this Agreement’s

          implementation process, answer questions about the Monitor’s reports, assessments, and

          recommendations, and hear community perspectives of interactions with PPB as those relate to the

          requirements of this Agreement. The Monitor will conduct community outreach to promote

          widespread public participation in the town hall meetings. The public will have the opportunity to

          make comments or raise concerns at these meetings or via online and/or electronic mail

          submissions. The Monitor and the City, in consultation with the PCCEP, will ensure that the time

          and location of these town hall meetings are well publicized with sufficient advance notice and that

          significant efforts are made to procure attendance of a community body broadly representative of

          the many and diverse communities in Portland, including persons with mental illness, mental health

          providers, faith communities, the Black community, people of color, student or youth organizations,

          and other community organizations.

                  231.    In addition to using town halls to seek community feedback, the Monitor will solicit

          feedback from stakeholders, including the PPA, AMAC, MHA, and other impacted individuals and


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          communities and law enforcement who live or work in Portland to ensure the Monitor reaches a

          broad diversity of people. The Monitor will also use modern tools of communication, such as social

          media, to ensure the Monitor receives feedback from community members whose voices are not as

          regularly heard. The Monitor shall maintain a website where the documents referenced herein,

          including the Monitor’s invoices and reports, are readily available to the public.

                  232.    Except as required or allowed by this Agreement, or with the Parties’ mutual

          consent, the Monitor, including any member of the Monitor’s team, will not make any public

          statements or issue findings with regard to any act or omission of the DOJ, City, PPB, or their

          agents, representatives, or employees; nor shall it disclose non-public information provided to the

          Monitor pursuant to this Agreement, and shall not make any statement to the press or public

          regarding its employment or monitoring activities under this Agreement.

                  233.    The Monitor, including any member of the Monitor’s team, may testify as to

          observations, findings, and recommendations before the Court with jurisdiction over this matter.

          However, the Monitor, including any member of the Monitor’s team, may not testify in any other

          litigation or investigative or pre-litigative proceeding with regard to any act or omission of the City,

          PPB, or any of their agents, representatives, or employees related to any matter of which knowledge

          was received as a result of this Agreement. This paragraph does not apply to any proceeding before

          a court related to performance of contracts or subcontracts for the Monitor services referenced in

          this Agreement.

                  234.    Unless such conflict is waived by the Parties, the Monitor and all members of the

          Monitor’s team will not accept employment or provide consulting services that would present a

          conflict of interest with the Monitor’s responsibilities under this Agreement. The Monitor and all

          members of the Monitor’s team may not enter into any contract with the City, PPB, or the United

          States while serving as the Monitor unless the Monitor first discloses the potential contract to the

          Parties and the Parties agree in writing to waive any conflict. The Monitor may not serve as a


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          member of another monitoring team, unless both Parties consent.

                   235.      The Monitor is not a state or local agency, or an agent thereof, and accordingly, the

          records maintained by the Monitor are not designated as public records subject to public inspection.

                   236.      The Monitor will not be liable for any claim, lawsuit, or demand arising out of the

          Monitor’s performance pursuant to this Agreement brought by any person or entity that is not a

          Party to this Agreement.

             C.      PPB Compliance Coordinator, City Reports, and Records

                   237.      PPB will hire or retain an employee familiar with the operations of PPB for the

          duration of this Agreement, to serve as a PPB Compliance Coordinator. The Compliance

          Coordinator will serve as a liaison between PPB and both the Monitor and DOJ, and will assist with

          PPB’s compliance with this Agreement. At a minimum, the Compliance Coordinator will:

                          a. Coordinate PPB’s compliance and implementation activities;

                          b. Facilitate the provision of data, documents, materials, and access to PPB personnel to

                             the Monitor and DOJ, as required;

                          c. Ensure that all documents and records are maintained as provided in this Agreement;

                          d. Assist in assigning compliance tasks to PPB personnel, as directed by the Chief of

                             Police or the Chief’s designee; and

                          e. Take primary responsibility for collecting the information the Monitor requires to

                             carry out the duties contained in this Agreement.

                   238.      The City shall prepare a status report no later than 45 days after the close of each six-

          month reporting period. The PPB Compliance Coordinator shall lead the effort in preparing this

          status report and shall provide copies to the Monitor and DOJ, and shall post the status report on

          the PPB website for access by PPA, AMAC, MHA, and the public. The City’s report shall delineate

          the steps taken during the reporting period to comply with each requirement of this Agreement.

                   239.      The City shall maintain all records, as applicable, necessary to document their


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          compliance with the terms of this Agreement and all documents expressly required by this

          Agreement.

             D.      Access to People and Documents

                   240.   The Monitor shall have full and direct access to all PPB and City staff, employees,

          facilities, and documents that the Monitor reasonably deems necessary to carry out their duties. If a

          document requested by the Monitor is a privileged attorney-client communication, the Monitor shall

          not disclose the document in a manner that destroys that privilege without the approval of the City

          Attorney. The Monitor shall cooperate with PPB and the City to access people, facilities, and

          documents in a reasonable manner that minimizes, to the extent possible, interference with daily

          operations. In order to report on the City’s implementation of this Agreement, the Monitor shall

          regularly conduct reviews to ensure that the City implements and continues to implement all

          requirements of this Agreement.

                   241.   For the purpose of assessing the Monitor’s work and whether enforcement of this

          Agreement is appropriate, DOJ as the plaintiff and its consultative experts and agents shall have full

          and direct access to all City staff, employees, facilities, and documents, to the extent necessary to

          carry out the enforcement provisions of this Agreement under Section XII, subsection H to the

          extent permitted by law. DOJ and its consultative experts and agents shall cooperate with PPB and

          the City to access involved personnel, facilities, and documents in a reasonable manner that

          minimizes interference with daily operations. DOJ shall provide PPB or the City with reasonable

          notice of a request for copies of documents. Upon such request, PPB or the City shall provide DOJ

          with copies (electronic, where readily available) of any documents that DOJ is entitled to access

          under this Agreement, except any documents protected by the attorney-client privilege. Should the

          City decline to provide DOJ with access to a document based on attorney-client privilege, the City

          promptly shall provide DOJ with a log describing the document, including its author, recipients,

          date of production, and general topic.


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                   242.   All non-public information provided to the Monitor or DOJ by the City shall be

          maintained in a confidential manner. The underlying data for compliance reviews and outcome

          assessments will not be publicly available unless properly subject to disclosure under the Oregon

          Public Records Law. Nothing in this Agreement requires the City to disclose documents protected

          from disclosure by the Oregon Public Records Law to third parties.

             E.      Review of Policies, Trainings, and Investigations

                   243.   Within 180 days of the Effective Date, PPB shall revise and/or develop its policies,

          procedures, and practices to ensure that they are consistent with, incorporate, address, and

          implement all provisions of this Agreement specific to force, training, community-based mental

          health services, crisis intervention, employee information system, officer accountability, and

          community engagement. PPB shall revise and/or develop as necessary other written documents

          such as handbooks, manuals, and forms, to effectuate the provisions of this Agreement. PPB shall

          send to the Monitor and DOJ as they are promulgated new or revised policies or procedures

          regarding use of force, interactions with persons in mental health crisis, and systems of

          accountability. The Monitor shall have access to the public comments received during the policy

          universal review period and may consider such input. If the Monitor or DOJ objects to the

          proposed new or revised policy or procedure because it does not incorporate the requirements of

          this Agreement or is inconsistent with this Agreement or the law, the Monitor or DOJ shall note the

          objection in writing within 21 days. If neither the Monitor nor DOJ objects, PPB will implement the

          policy or procedure as soon as practicable consistently with any collective bargaining obligations that

          may exist. PPB shall have 21 days to resolve any objections. If, after the 21-day period has run, the

          DOJ maintains its objection, then the Monitor shall have an additional 21 days to resolve the

          objection. If either Party disagrees with the Monitor’s resolution of the objection, they may demand

          mediation and the Parties and Monitor shall participate in mediation pursuant to Paragraph 271 of

          this Agreement. If the dispute is not resolved within 45 days of the start of mediation, either Party


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          may file a motion petitioning the Court for relief pursuant to Paragraph 272 of this Agreement.

          Upon approval consistent with this Agreement or Court decision, policies shall be implemented as

          soon as practicable consistent with any collective bargaining obligations that may exist. PPB shall

          document employee review of new or revised policies and procedures. The Chief shall post on

          PPB’s website final drafts of all new or revised policies that are proposed specific to force, training,

          community-based mental health services, crisis intervention, employee information system, officer

          accountability, and community engagement, to allow the public an opportunity for notice and

          comment, prior to finalizing such policies.

                  244.    The Chief’s Office shall coordinate a review of each policy or procedure required by

          this Agreement 180 days after such policy or procedure is implemented, and biennially thereafter (on

          a regularly published schedule), unless either Party requests an annual review, to ensure that such

          policy or procedure provides effective direction to PPB personnel and remains consistent with the

          purpose and requirements of this Agreement.

                  245.    PPB shall apply policies uniformly and hold officers accountable for complying with

          PPB policy and procedure.

                  246.    PPB shall revise and/or develop its training curricula to ensure that they are

          consistent with, incorporate, address, and implement all provisions of this Agreement specific to

          force, training, community-based mental health services, crisis intervention, employee information

          system, officer accountability, and community engagement. PPB shall send new or revised training

          curricula regarding use of force, interactions with persons in mental health crisis, and systems of

          accountability to the Monitor as they are promulgated, with a copy to DOJ. The Monitor will

          provide comments within 14 days and will not unreasonably withhold approval of training curricula.

          PPB shall provide initial and in-service training to all officers and supervisors with respect to newly

          implemented or revised policies and procedures. PPB shall document employee training in new or

          revised policies and procedures.


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             F.      Changes, Modifications, and Amendments

                   247.     Nothing prohibits the Parties from engaging in any informal or formal discussions

          regarding this Agreement or the City’s compliance with this Agreement. After considering input

          from the PPA, AMAC, and MHA, the Parties may jointly stipulate to make changes, modifications,

          and amendments to this Agreement, which shall be effective, absent further action from the

          Court,45 days after a joint motion has been filed with the Court. Any modification of this

          Agreement by the City of Portland must be approved by the City Council of the City by written

          ordinance.

                   248.     Where the Parties or the Monitor are uncertain whether a change to this Agreement

          is advisable, the Parties may agree to suspend the current Agreement requirement for a time period

          agreed upon at the outset of the suspension. During this suspension, the Parties may agree to

          temporarily utilize an alternative requirement. The Monitor will assess whether the alternative is as,

          or more, effective at achieving the purpose as was the original, and the Parties will consider this

          assessment along with input from PPA, AMAC, and MHA in determining whether to stipulate jointly

          to the suggested change, modification, or amendment.

             G.      Partial Termination, Self-Monitoring, and Final Termination

                   249.     Partial termination will serve to acknowledge the successful efforts of PPB and the

          City to date and will allow the Parties and Monitor to focus their efforts on areas in which the City is

          not in or has not maintained substantial compliance. Self-monitoring is a transition phase that

          involves continued Monitor review of the City’s methodology and self-assessments while allowing

          the City to demonstrate its ability to sustain compliance after termination. Final termination is

          achieved when the City has satisfied its obligations under this Agreement. As used herein:

                    a. A “discrete section” of this Agreement is a paragraph or group of paragraphs that do not

                          necessarily implicate other provisions of the Agreement and may be assessed for

                          compliance independently of other provisions.


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                    b. This Agreement has 35 discrete sections:

                        1)     Paragraphs 66-67 (force principles);

                        2)     Paragraph 68 (ECWs);

                        3)     Paragraphs 69, 70, 72-73, 188 (force reports and reviews);

                        4)     Paragraph 71 (supervisory staffing);

                        5)     Paragraphs 74-77 (force audits);

                        6)     Paragraphs 78-79, 81, 84, and 190 (training principles);

                        7)     Paragraphs 80, 82-83 (training, evaluations, reports, and qualifications);

                        8)     Paragraphs 85-86 (training audits, analyses, and recommendations);

                        9)     Paragraph 87 (training advisory council);

                        10)    Paragraphs 88-90 (community-based mental health services);

                        11)    Paragraphs 91-93 (behavioral health unit);

                        12)    Paragraphs 94-96 (behavioral health unit advisory committee);

                        13)    Paragraphs 97-98 (continuing the crisis intervention program);

                        14)    Paragraphs 99-105 (establishing enhanced crisis intervention team);

                        15)    Paragraphs 106-111 (behavioral health response team);

                        16)    Paragraph 112 (service coordination team);

                        17)    Paragraphs 113-114 (BOEC);

                        18)    Paragraph 115 (crisis triage);

                        19)    Paragraphs 116-118 (EIS operation);

                        20)    Paragraphs 119-120 (EIS staffing);

                        21)    Paragraphs 121-123 (investigation timelines);

                        22)    Paragraphs 124-127 (on-scene public safety statements and interviews);

                        23)    Paragraphs 128-129, 131-133 (conduct of IA investigations);



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                         24)     Paragraph 130 (retaliation);

                         25)     Paragraphs 134-136 (CRC appeals);

                         26)     Paragraphs 137 and 245 (discipline and accountability);

                         27)     Paragraphs 138-140 (communication and transparency);

                         28)     Paragraphs 141-144, 151-152 (PCCEP);

                         29)     Paragraphs 145-147, 149 (PPB community engagement);

                         30)     Paragraphs 148, 150, 193 (PPB Stops Data and Annual Reports);

                         31)     Paragraph 189 (outside review of 2020 protest response);

                         32)     Paragraph 191 (training dean);

                         33)     Paragraph 192 (investigating 2020 protest response);

                         34)     Paragraph 194 (body-worn cameras); and

                         35)     Paragraph 195 (new accountability structure).

            c. Substantial compliance is achieved if any violations of the Agreement are minor or occasional and

                are not systemic. The Monitor will assess whether the City has achieved substantial compliance in

                accord with the provisions of this Agreement.

                   1.      Immediate Partial Termination

                  250.     Upon approval of this Section XII, the following discrete sections of the Agreement,

          which the City has achieved and maintained substantial compliance for at least the prior three

          complete DOJ assessment reports, are terminated:

                   a.    Paragraph 68 (ECWs);

                   b.    Paragraph 71 (supervisory staffing);

                   c.    Paragraphs 80, 82-83 (training evaluations, reports, and qualifications);

                   d.    Paragraph 87 (Training Advisory Council);

                   e.    Paragraphs 91-93 (Behavioral Health Unit);

                   f.    Paragraphs 97-98 (continuing the crisis intervention program);

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                   g.    Paragraphs 99-105 (establishing “Memphis Model” crisis intervention team);

                   h.    Paragraphs 106-111 (Behavioral Health Response Team);

                   i.    Paragraph 112 (Service Coordination Team);

                   j.    Paragraphs 113-114 (BOEC);

                   k.    Paragraph 115 (crisis triage), subject to Paragraph 252(a) below;

                   l.    Paragraphs 119-120 (EIS staffing);

                   m. Paragraph 130 (retaliation);

                   n.    Paragraphs 134-136 (CRC appeals);

                   o.    Paragraphs 138-140 (communication and transparency); and

                   p.    Paragraphs 145-147, 149 (PPB community engagement).

                  251.     A discrete section that is terminated is no longer subject to enforcement, monitoring,

          or self-monitoring, and the requirements under the discrete section are no longer part of this

          Agreement.

                  252.     The Parties have a current dispute over the meaning of two provisions of this

          Agreement:

                    a. The Parties disagree about the meaning and requirement of Paragraph 115 of this

                         Agreement and whether it should be immediately partially terminated. The Parties shall

                         attend mediation and exchange information to try to resolve the question of whether

                         Paragraph 115 should also be immediately partially terminated. The Parties shall

                         mediate the matter for not more than 60 days after entry of the Section XII amendments.

                         If the Parties come to agreement that Paragraph 115 should be immediately partially

                         terminated, the Parties shall expeditiously file a joint motion stipulating to terminate the

                         obligations under Paragraph 115 of this Agreement independently of other provisions.

                         During the pendency of a joint motion stipulating to partial termination, the United

                         States agrees not to enforce the obligations, and the obligations of the Monitor, and/or


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                         the obligations of the COCL if a Monitor is not yet assessing compliance, and

                         requirements for self-monitoring shall suspend. The joint stipulated motion will take

                         effect as an order of the Court if the Court does not act within 45 days of the motion

                         being filed. If, after mediation, the Parties do not agree to immediate partial termination,

                         then either Party may file a motion with the Court for determination of the correct

                         interpretation of Paragraph 115. After a hearing on the motion, the Court will make such

                         determination. If the Court’s interpretation of Paragraph 115 means that the City was in

                         substantial compliance with Paragraph 115 during the seventh compliance report period,

                         then the Court will immediately terminate Paragraph 115. If the Court determines that

                         the City was not in substantial compliance with Paragraph 115, then Paragraph 115 will

                         remain in this Agreement until the City meets the requirements for self- monitoring

                         followed by partial termination or until Paragraph 115 is otherwise terminated as an

                         obligation of this Agreement, whichever shall first occur.

                    b. The Parties disagree about the meaning of the phrase “direct access to documents” as

                         that phrase is used in Paragraphs 240 and 241 and how it applies to access to

                         evidence.com or equivalent cloud storage service.          The Parties shall attend

                         mediation and exchange information to try to resolve the question of the meaning of

                         direct access as stated above regarding Paragraphs 240 and 241. The Parties shall mediate

                         the matter for not more than 60 days after entry of the Section XII amendments. If, after

                         mediation, the dispute remains unresolved, then either Party may file a motion with the

                         Court as permitted by this Agreement.

                   2.      Self-Monitoring Followed by Partial Termination

                  253.     Upon approval of this Section XII, the following discrete sections in Paragraph

          249(b) shall move into self-monitoring:

                    a.     Paragraphs 88-90 (Community Based Health Services);


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                      b.    Paragraph 94-96 (BHU Advisory Committee);

                      c.    Paragraphs 141-144, 151-152 (PCCEP); and

                      d.    Paragraphs 148, 150, and 193 (PPB Stops Data and Annual Reports).

                     254.   Going forward, within seven days of the Monitor filing each semi-annual compliance

          report, the Parties will identify whether additional discrete sections are subject to self-monitoring. A

          discrete section will become subject to self-monitoring if: (a) the Monitor’s first report and DOJ’s

          Seventh Periodic Compliance Assessment Report (ECF 369) found the City in substantial

          compliance with the discrete section; (b) the Monitor’s first report and COCL’s final two quarterly

          assessment reports found the City in substantial compliance with the discrete section; or (c) the

          Monitor finds the City in substantial compliance with the discrete section for two consecutive

          reports.

                     255.   For discrete sections subject to self-monitoring, the City will create a self-monitoring

          plan in consultation with the Monitor that emphasizes assessments to evidence continued substantial

          compliance, prepare semi-annual compliance reports subject to the Monitor’s evaluation, and report

          its findings to the Court at non-evidentiary status conferences.

                     256.   Within 45 days of receipt, the Monitor shall evaluate the City’s semi-annual reports

          to determine whether the City has maintained substantial compliance in accordance with the self-

          monitoring plan. The Monitor may reasonably request additional time for evaluation and the Parties

          shall not unreasonably deny such request.

                     257.   If the Monitor’s evaluations find that the City has adequately demonstrated that it

          has maintained substantial compliance with a discrete section of this Agreement for two consecutive

          reports, the discrete section will be subject to termination. In that event, the Parties shall file a joint

          motion stipulating to terminate the obligations under the discrete section of this Agreement

          independently of other provisions. During the pendency of a joint motion stipulating to partial

          termination, the United States agrees not to enforce the obligations, and the obligations of the


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          Monitor and requirements for self-monitoring shall cease. The joint stipulated motion will take

          effect as an order of the Court if the Court does not act within 45 days of the motion being filed.

                  258.    If the Monitor’s evaluations find that the City has not adequately demonstrated that

          it has maintained substantial compliance with a discrete section subject to self-monitoring, then the

          City shall prepare additional semi-annual reports until the Monitor determines that the City has

          adequately demonstrated that it has maintained substantial compliance with the discrete section for

          two consecutive reports, at which point the discrete section shall be subject to a motion stipulating

          to partial termination pursuant to Paragraph 257.

                  259.    If the Parties disagree about whether a discrete section of this Agreement is

          appropriate for partial termination, prior to filing a contested motion for partial termination, the

          City will notify DOJ in writing of the grounds for its motion and provide documents to support its

          position. Thereafter, the Parties will confer within seven days as to the status of compliance, and

          DOJ may elect to conduct reasonable assessments, or, for any City assertion in the grounds for its

          motion for partial termination that have not been subject to the Monitor’s assessment, the DOJ may

          request that the Monitor conduct reasonable assessment of that assertion. Such assessment may

          include on-site observations, document reviews, or interviews with City and PPB personnel. The

          period of consultation and assessments shall not exceed 30 days; however, DOJ may request a

          reasonable extension of time, which the City shall not unreasonably deny. If after the period of

          consultation and assessment the Parties cannot resolve their disagreement about compliance, the

          Parties agree to participate in mediation pursuant to Paragraph 271 of this Agreement. If the dispute

          is not resolved within 45 days of the start of mediation, the City may file a motion to terminate

          discrete sections of this Agreement. If the City moves to terminate discrete sections of this

          Agreement, DOJ will have 30 days after the receipt of the City’s motion to respond, however, DOJ

          may request reasonable extensions of this deadline which the City shall not unreasonably oppose. If

          DOJ objects to the City’s motion, the Court will hold a hearing on the motion, and the burden will


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          be on the City to demonstrate that the City remains in substantial compliance with the discrete

          section(s) at issue after successfully self-assessing its compliance for two consecutive self-

          assessment reports, as provided in this Agreement, and that partial termination is appropriate.

                   3.      Final Termination

                   260.    This Agreement will terminate in all respects when all discrete sections identified in

          Paragraph 249(b) have been terminated pursuant to this Agreement.

                   261.    The City and the United States shall file a joint motion stipulating to final

          termination of this Agreement once the City has achieved substantial compliance and adequately

          demonstrated by self-monitoring consistent with this Agreement that it maintained substantial

          compliance with each respective discrete section(s) not already terminated, and as documented by

          the joint motions stipulating to partial termination on file or any judicial findings that result from a

          contested motion for partial termination. The Court shall consider the stipulation of the Parties, the

          Monitor’s reports, and other admissible evidence. During the pendency of a joint motion stipulating

          to final termination, the United States agrees not to enforce the obligations, and the obligations of

          the Monitor and requirement for self-monitoring shall cease. The joint stipulated motion will take

          effect as an order of the Court if the Court does not act within 45 days of the motion being filed.

                   262.    If this Agreement has not already been terminated in its entirety within three years of

          the date of the Monitor’s appointment, the Court shall hold a hearing in which the City will be

          invited to provide evidence to the Court of the progress it has made and, if the City chooses, to

          demonstrate that the City can be released from this Agreement, either in whole or in part. For work

          that remains, if any, this hearing shall be used as an opportunity to solidify a plan and timeline for

          completing any outstanding work as efficiently as possible.

             H.         Enforcement

                   263.    The Parties agree jointly to file this Agreement with the United States District Court

          for the District of Oregon, in a matter to be captioned United States v. City of Portland, Civil


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          Action No. 3:12-CV-02265-SI. The joint motion shall request that the Court enter the Agreement

          pursuant to Federal Rule of Civil Procedure 41(a)(2), and conditionally dismiss the complaint in this

          action with prejudice, while retaining jurisdiction to enforce the Agreement. If the Court does not

          retain jurisdiction to enforce the Agreement, the Agreement shall be void.

                  264.    The Court shall retain jurisdiction of this action for all purposes until the City’s

          obligations are terminated as provided by this Agreement.

                  265.    The United States acknowledges the good faith of PPB and the City in trying to

          address the remedial measures that are needed to promote police integrity and ensure constitutional

          policing in the City. The United States, however, reserves its right to seek enforcement of the

          provisions of this Agreement if it determines that PPB or the City have failed to fully comply with

          any provision of this Agreement that is not subject to a pending motion stipulating to termination or

          has not otherwise been terminated as provided by this Agreement.

                  266.    The United States understands that some portions of this Agreement will take time

          to implement and that implementation may require changes to, among other things, collective

          bargaining agreements, the City Code, and current City policies and will likely require additional

          revenue resources that have not yet been identified at the time this Agreement is executed.

                  267.    If the United States reasonably believes the City has failed to implement the terms of

          the Agreement, it shall promptly notify the City in writing and identify with specificity the portion or

          portions of the Agreement about which it has concerns. Similarly, if the City believes that DOJ has

          misinterpreted a provision of this Agreement it may promptly notify DOJ of its concerns, noting the

          specific portions of the Agreement that it believes has been misinterpreted.

                  268.    Notices provided by the United States or by the City shall be in writing and provided

          by mail to the following persons:

                             Chief of Police                      City Attorney
                             1111 SW Second Ave                   1221 SW Fourth Ave., Suite 430
                             Portland, OR 97204                   Portland, OR 97204


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                             Section Chief                       U.S Attorney
                             Special Litigation Section          District of Oregon
                             950 Pennsylvania Ave, NW            1000 SW Third Ave, Suite 600
                             Washington, D.C. 20530              Portland, OR 97204


                  269.    Following receipt by mail of any written Notice, the City or DOJ shall respond in

          writing within 30 days to the concerns raised by the other Party. Depending on the nature and

          number of concerns, the City or DOJ may request additional time to respond, and such request shall

          not be unreasonably denied. The Notice and the response thereto shall be considered to be in the

          nature of settlement discussions subject to Federal Rule of Evidence 408.

                  270.    If the response fails to resolve the stated concerns, the Parties agree to meet as soon

          thereafter as is mutually convenient to discuss the City’s compliance with the portion(s) of the

          Agreement identified in the Notice or the interpretation of the Agreement by DOJ. Persons

          attending the meeting shall have authority to resolve the concerns, unless resolution of the concern

          requires adoption of an ordinance or resolution by City Council or by the Assistant Attorney

          General in Charge of the DOJ Civil Rights Division.

                  271.    If a meeting between the Parties fails to resolve the concerns, the Parties agree to

          participate in mediation conducted by a mutually agreeable neutral third party. Any such mediation

          may include the PPA, AMAC, and MHA at the Mediator’s discretion and invitation. If the Parties

          cannot agree upon the selection of a mediator, the Parties shall submit three names of potential

          mediators to each other. Each Party may then strike two of the three names provided by the other

          participant. The remaining two names shall be given to the Chief Judge of the U.S. District Court

          for the District of Oregon and the Chief Judge shall appoint the mediator from one of the names

          provided.

                  272.    If mediation fails to resolve the concerns, the United States or the City may file a

          Motion in the U.S. District Court for the District of Oregon, located in Portland, Oregon, to

          enforce compliance with the terms of this Agreement or to seek a Declaration of the meaning of

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          this Agreement. The Motion or request for Declaration shall only allege concerns raised by the City

          or DOJ that were the subject of mediation. The Parties shall then confer with the Court to schedule

          a date on which the Motion or Declaration shall be heard or will otherwise comply with the Court’s

          preferred procedure. The Judge hearing the Motion shall determine whether or not the Agreement

          has been breached and may interpret the meaning of the Agreement and has the power to issue an

          appropriate remedy, if any. If, for any reason, the Judge finds the City is not in compliance with the

          Agreement, but that noncompliance was beyond the reasonable control of the City, the City shall

          not be in breach of this Agreement. However, in the event of noncompliance beyond the reasonable

          control of the City, the Parties agree that the Court may exercise its equitable powers to devise an

          appropriate remedy or modification of this Agreement to accomplish the same result as that

          intended by the portion of the Agreement with which noncompliance was found, provided the

          Parties cannot reach agreement on the remedy or modification. Both Parties retain the right to

          appeal these decisions.

                  273.    The Parties agree to defend the provisions of this Agreement and any joint motion

          filed pursuant to this Agreement. The Parties shall notify each other of any court or administrative

          challenge to this Agreement. In the event any provision of this Agreement is challenged in any City,

          county, or state court, removal to a federal court shall be sought by the Parties.

                  274.    The Parties agree that the provisions of Section XII of this Agreement are not

          severable and are effective only when Section XII is adopted in its entirety.

                  275.    The City agrees to promptly notify the Monitor and DOJ if any term of this

          Agreement becomes subject to collective bargaining. The City agrees to keep the Monitor and DOJ

          apprised of the status of the resulting negotiations.




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       DATED: January 25, 2024

       Respectfully submitted,

        FOR THE CITY OF PORTLAND:


        /s/ Robert Taylor                                 /s/ Heidi Brown
        ROBERT TAYLOR                                     HEIDI BROWN
        City Attorney                                     Chief Deputy City Attorney


        /s/ Sarah Ames                                    /s/ Lisa Rogers
        SARAH AMES                                        LISA ROGERS
        Deputy City Attorney                              Deputy City Attorney


       FOR THE UNITED STATES:


        NATALIE K. WIGHT                                  KRISTEN CLARKE
        United States Attorney                            Assistant Attorney General
        District of Oregon                                Civil Rights Division

                                                          STEVEN H. ROSENBAUM
                                                          Chief, Special Litigation Section

                                                          /s/ Laura L. Cowall
                                                          LAURA L. COWALL
                                                          Deputy Chief

                                                          /s/ R. Jonas Geissler
                                                          R. JONAS GEISSLER
                                                          Trial Attorney

                                                          /s/ Jared D. Hager
                                                          JARED D. HAGER
                                                          Trial Attorney

                                                          /s/ Amy Senier
                                                          AMY SENIER
                                                          Trial Attorney




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                    EXHIBIT 1: PARAGRAPH 142 – AMENDED PCCEP PLAN (ECF 215-1)

                                              City of Portland Plan for
                             Portland Committee on Community-Engaged Policing (PCCEP)

           I.     MISSION
          To work with the Mayor/Police Commissioner, Portland Police Bureau, and Portland’s diverse
          constituencies to solicit and exchange information between the community and Portland Police
          Bureau (PPB) to achieve the desired outcomes of equitable policing which exceeds
          constitutional requirements, and meaningful community engagement with and trust in PPB.


           II.    GOALS
           PCCEP members will independently assess the Settlement Agreement using the tools outlined
           in this Plan. PCCEP will work to facilitate positive police/community relationships and promote
           public safety by assessing PPB’s current community engagement processes, and developing
           recommendations and strategies for systems to increase public outreach and engagement with
           a broad cross-section of the community, to build confidence and improve outcomes.

           Additionally, PCCEP members will review and make recommendations on PPB policies touching
           the DOJ Settlement Agreement and/or key areas of concern, including constitutional policing,
           use of force, interactions with people experiencing mental illnesses, complaint investigations,
           and racial justice.

           In order for PPB to effectively build trust with Portland’s diverse communities, the
           communities’ concerns must be heard and meaningful action by PPB must be taken. To
           facilitate this outcome, PCCEP members will also make recommendations in the key areas of
           concern for Portland’s diverse communities based on the communities’ articulated experiences
           and grievances.

           PCCEP’s mission and goals will guide the following:

                    1.   Scope of work
                    2.   Membership
                    3.   City’s responsibilities
                    4.   Available tools and resources
                    5.   Members’ responsibilities
                    6.   Deliverable products




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           SCOPE OF WORK
          PCCEP will engage with Portland’s diverse communities in key areas of concern, including
          constitutional policing, use of force, interactions with people experiencing mental illnesses,
          complaint investigations, and racial justice. PCCEP will contribute to the development of the
          PPB Community Engagement Plan, as directed by the Settlement Agreement between the City
          of Portland and the United States.
           Specifically, PCCEP will be authorized to:
               •    Develop recommendations for PPB systems to engage meaningfully, both short-term
                    and long-term, Portland’s diverse communities and improve community relations.
                    Gather and synthesize information from Portland’s diverse communities, and make
                    recommendations based on that information in key areas of concern to communicate to
                    the Mayor, PPB, the Office of Equity and Human Rights, the DOJ, and the public at large.
               •    Review and make recommendations on PPB directives touching the DOJ Settlement
                    Agreement and/or key areas of concern. Provide information to the community on
                    these directives, and solicit feedback and recommendations from the community to
                    share with the PPB.
               •    With the Mayor’s written approval, and after consultation with the other City
                    Commissioners, PCCEP is authorized to identify for off-schedule review directives not
                    related to the DOJ Settlement Agreement or key areas of concern.1 PCCEP must provide
                    a written explanation for the request, which will be considered by the Mayor and City
                    Commissioners.
               •    Provide information to and solicit feedback from Portland’s diverse communities
                    through focused and targeted round tables and town halls, to be held at least quarterly
                    and be open to the public. PPB presence is required at quarterly town halls.
               •    Continue to collaborate with the City on surveys regarding Portland residents’
                    experiences with and perception of PPB’s community outreach and accountability
                    efforts. PCCEP will consider survey results in developing recommended strategies.
               •    Provide ongoing feedback to PPB regarding community engagement initiatives already in
                    progress and those added/needed in the future.
               •    During the effective period of the Settlement Agreement, appear before the Court at the
                    annual status conference to describe to the Court its assessment of the City’s progress
                    toward achieving the goals of the Settlement Agreement.




           1
            PPB directives are generally scheduled for Bureau review every two years. The City recognizes that the
           community has an interest in a number of directives, and particularly those that are relevant to current events
           (e.g., Directive 635.10. Crowd Management, with respect to demonstrations; Directive 810.10, Arrest of Foreign
           Nationals with respect to Portland’s status as a Sanctuary City). This authority is intended to allow PCCEP to be
           responsive to community concerns when there is a compelling interest to review and revise a Bureau practice.
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           III.    MEMBERSHIP and REPORTING
           PCCEP will be comprised of a diverse group of thirteen mayoral-appointed volunteers, who are
           committed to improving systems-based police/community relationships and ensuring and
           exceeding constitutional policing standards. Two of the thirteen seats will be reserved for youth
           members, ages 16-23. The PCCEP will report directly to the Mayor (Police Commissioner) and
           consult, separately and at least quarterly with the Director of the Office of Equity and Human
           Rights.

           IV.     SELECTION

           Inaugural Selection Process
           The Mayor, in consultation with the other Council offices, shall work with the community
           selection panel described below to develop selection criteria and public outreach strategies for
           the PCCEP selection process. This process may begin before the Fairness Hearing and approval
           of the revised Settlement Agreement by the Court. Following the development of the selection
           criteria, a written, downloadable application will be posted and available on the City’s website.
           Posted alongside the application will be the deadline for submission, selection criteria, selection
           process and a description of PCCEP member responsibilities. The City will engage the
           community in a variety of ways to communicate the application and selection process, criteria
           and timelines. Extra effort will be made to invite people who have experienced mental
           illnesses to apply.
           The inaugural selection process for PCCEP’s first year will adhere to the following framework:
           (1) Application submission; (2) Initial screening of applicants by mayoral staff and a
           representative from any Council office who wishes to participate; (3) Review and further
           screening by the Selection Advisory Committee (a panel consisting of five diverse community
           members, each chosen by the Mayor and other Commissioners); (4) Candidate interviews with
           Mayor after soliciting feedback about final candidates from each Council office; (5) Mayoral
           appointment and (6) Council confirmation.
           Youth Member Selection Process
           In accordance with best practices for youth-adult partnerships, the process to select youth
           members ages 16-23 will be as follows: 1) Outreach to and opportunity for recommendations by
           David Douglas School District, Parkrose School District, and Portland Public Schools (up to three
           students per district); 2) Outreach through Portland’s 2-year and 4-year colleges and
           universities in collaboration with student led groups and clubs; 3) Application submission; 4)
           Group interviews by an interview committee comprised of the PCCEP chair/co-chairs, PCCEP
           staff, Mayor’s staff and the invited participation of a representative each from the Albina
           Ministerial Alliance Coalition for Justice and Police Reform (AMAC) and the Mental Health
           Alliance (MHA); 5) Recommendations for youth members/alternates by the interview
           committee to the Mayor; 6) Mayoral appointment; and 7) Council confirmation.

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           Any youth who apply through the regular process will be incorporated into the youth selection
           process. Any youth under the age of 18 must obtain permission from a legal guardian (or
           provide documentation that they are legally emancipated) to apply and serve on the PCCEP.
           Ongoing Selection Process
           After the PCCEP’s inaugural year, a written, downloadable application will continue to be
           posted and available on the City’s website. Posted alongside the application will be the
           deadline for submission, selection criteria, selection process and a description of PCCEP
           member responsibilities. Extra effort will continue to be made to invite people who have
           experienced mental illnesses to apply.

           The process to select members (other than youth members) will be as follows: 1) Application
           submission; 2) Initial screening of applicants by PCCEP staff, a member of the Mayor’s staff,
           staff from any Council office who wishes to participate and a community representative; 3)
           Interviews (in-person or by phone) by an interview committee comprised of the PCCEP
           chair/co-chairs, PCCEP staff, Mayor’s staff, Council staff if they elect to participate and the
           invited participation of a representative each from the AMAC and the MHA; 4) Solicitation of
           community feedback on candidates recommended by interview committee; 5) Mayoral
           interviews of recommended candidates;         6) Mayoral appointment; and 7) Council
           confirmation.
           The PCCEP will accept applications on an ongoing basis and will maintain an alternate pool of
           qualified candidates. There will be no minimum or maximum number of alternate PCCEP
           members.

           The Mayor will consider the selection criteria and views of the community in appointing
           volunteers. City employees may not be appointed to sit on the PCCEP.

           V.     TERM

           Volunteers will serve two-year terms, with the option to re-apply at the end of a term. During
           the first year of PCCEP’s life, volunteers will be appointed on a staggered basis where the
           majority of the board will serve two-year terms, and the remainder will serve one-year terms.
           Applicants will be able to indicate on their application forms whether they wish to serve one or
           two-year terms. Any volunteers who serve one-year terms will have the option of re-applying
           for the opportunity to serve a full term. In accordance with City policy for advisory boards and
           commissions, volunteers can serve no more than eight years on the PCCEP.

           VI.    REMOVAL
           The Mayor, after consultation with the Council, the PCCEP Program Manager and PCCEP chair
           (absent a conflict of interest) will have sole discretion to determine when PCCEP members are no
           longer fit to serve on the committee due to misconduct. If a member is removed or resigns,


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           the selection process identified above will be used to recruit, appoint and confirm the new
           member.


           VII.     CITY’S RESPONSIBILITIES2
           To establish the PCCEP and facilitate its work, the City will seek the services of a facilitator to
           structure board orientation for PCCEP members. This orientation shall include training on the
           United States v. City of Portland Settlement Agreement. Specifically, as part of this training, the
           Albina Ministerial Alliance Coalition for Justice and Police Reform (AMAC) and mental health
           advocates will be invited to provide information on the history of the Settlement Agreement.
           After PCCEP’s board orientation, the City shall continue to provide resources for member
           training as needed so that members continue to fulfill their obligations.

           The City shall make appropriate information available regarding PPB’s current community
           engagement initiatives, directives, and directive review and implementation process.

           The PPB, in particular, and in accordance with its directive review schedule, shall meet with
           PCCEP during a universal review period to brief members on directives related to the DOJ
           Settlement Agreement and/or key areas of concern, provide information as needed/requested,
           and solicit PCCEP member feedback. The PPB shall make the adjustments necessary to its
           current directive review system in order to integrate PCCEP into the PPB’s work.

           The City shall provide thorough and timely responses to PCCEP recommendations and requests
           for information, and shall endeavor to do so within 60 days.

           The City shall provide staffing for the PCCEP including a program manager and administrative
           support. The City will also provide staff support and funding for community
           organizing/outreach.




           2
             With the amendments to Section IX of the Settlement Agreement and the development of the PCCEP,
           the City understands there is concern about the role of the Portland community in monitoring the
           Settlement Agreement, and updating the wider community on the status of terms of the Settlement
           Agreement. The City will provide updates to the community on the status of the City’s compliance with
           its obligations under the Settlement Agreement in the following ways: 1) at the annual status
           conference before the federal district court; 2) through quarterly community meetings with the COCL
           either separate from or jointly with the PCCEP, and staffed by the City; 3) through reports on the COCL
           website; and 4) through other means as appropriate. The United States Department of Justice and the
           COCL will continue to have responsibility for monitoring the City’s compliance with its obligations under
           the Settlement Agreement during the effective period of the Agreement. After the City is found to be
           in compliance with the Settlement Agreement and the Court, DOJ and COCL are no longer involved,
           PCCEP will provide recommendations to the Mayor/Police Commissioner regarding continued
           assessments of the City’s progress, generally, and community engagement.
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           The City shall provide meeting locations, and work with PCCEP to identify neutral locations that
           are accessible to and appropriate for the community for public meetings.

           To ensure constitutional policing, to closely interact with the community to resolve
           neighborhood problems, and to increase community confidence, PPB shall work with City
           resources knowledgeable about public outreach processes, the PCCEP and the PPB’s Equity &
           Diversity Manager to develop a Community Engagement Plan, which shall be adopted by
           Council following a public hearing.

           The Mayor’s Office shall publish on the City website an annual report, commencing from the
           date PCCEP begins meeting through the duration of its existence, that will include updates on
           progress made by the City in key areas of concern and community engagement
           recommendations.

           The Mayor or the Mayor’s delegate, and the PPB Chief or the Chief’s delegate, shall endeavor to
           attend all public meetings of PCCEP, unless PCCEP requests otherwise. Other Commissioners or
           their delegates are encouraged to attend, unless PCCEP requests otherwise. The purpose of
           such attendance is to listen to understand, provide information either at the meeting or as
           follow-up, and learn from PCCEP members and public testimony.

           VIII.    MEMBERS’ RESPONSIBILITIES
           PCCEP members must engage all participants in a respectful and collegial manner, and be
           responsible for the following:

           •   Prior to voting as a PCCEP member:
                       o Learn about the history of the United States v. City of Portland Settlement
                           Agreement, with an opportunity for AMAC and MHA to participate.
                       o Participate in a ride-along with PPB (1 per PCCEP member). If necessary, the City
                           is willing to provide a reasonable accommodation that would instead permit a
                           PCCEP member to participate in a ride-along with a member of the Behavioral
                           Health Unit or a Neighborhood Response Team (in lieu of regular patrol); or
                           participate in a morning walking beat.
                       o Review lessons learned from the COAB.
                       o Participate in subject matter and board trainings.
                       o Learn about:
                                  PPB organizational structure;
                                  Policy development and implementation process;
                                  PPB Racial Equity Plan;
                                  PPB Training Division Plan;
                                  PPB’s Office of Community Engagement and current community
                                     engagement initiatives, generally; and
                                PPB advisory bodies.
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           •   As soon as practicable, attend PPB community academy, if possible as an alternate prior to
               appointment to PCCEP as a member. If necessary, the City is willing to provide a reasonable
               accommodation that would instead permit a PCCEP member to observe a session of the
               community academy and be given a guided tour of the PPB Training Division (with the
               opportunity to ask detailed questions about the Training Division).
           •   Gather input from Portlanders regarding experiences with and perceptions of PPB’s
               community outreach. Input will be gathered through culturally responsive and relevant
               strategies that center the needs of the community. These strategies will include meeting
               community members where they are physically, mentally, emotionally and spiritually. Such
               input will be solicited from (though not limited to) the following groups:
                   o General consultation with Office of Neighborhood Involvement (ONI) and/or District
                       Coalitions, Coalition of Communities of Color, and ONI’s Diverse Civic Leadership
                       partners
                   o AMAC, The Portland Commission on Disabilities, the Human Rights Commission, and
                       the New Portlander Policy Commission
           •   Evaluate national best practices regarding police and community engagement leading to
               bias-free policing and community trust.
           •   Analyze prior community surveys and consult with the City to conduct additional
               community surveys.
           •   Receive public comment from Portlanders at large.
           •   Review PPB directives and make recommendations to PPB based on public feedback in key
               areas of concern.
           •   Provide ongoing feedback to PPB’s Office of Community Engagement on its community
               engagement practices and initiatives, and provide feedback on PPB’s Community
               Engagement Plan.
           •   Hold monthly meetings. Meeting agendas shall be structured in a manner that provides a
               meaningful opportunity for public comment at the meeting prior to the conclusion of
               deliberations and voting. PCCEP meetings will generally be open to the public. However, if
               PCCEP reasonably determines that good cause exists on a particular occasion (for example,
               to deliberate on sensitive matters, such as matters involving personal medical information,
               or due to safety concerns), the PCCEP may meet without the public present. Facilitators will
               ensure that no votes are taken without the public having the opportunity to be present.
           •   Form subcommittees that may meet at other times during the month. Subcommittee
               meetings must be open to the public and provide an opportunity for the public to weigh in
               on the substantive matters being considered.
           •   PCCEP shall coordinate with the COCL to host open town hall meetings at which the COCL
               provides quarterly reports and the COCL and PCCEP receives public comment on


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                   compliance assessments and recommendations to facilitate Portlanders’ ability to review
                   compliance and make recommendations.3
           •       Agendas and minutes from all PCCEP meetings will be published on the City website within
                   10 business days after the meeting date.

           IX.          DELIVERABLE PRODUCT

           PCCEP shall be responsible for producing the following:

                   •    Summary reports issued (to the Mayor, PPB, DOJ, and the public at large)
                        contemporaneously with quarterly town halls, providing an overview of community
                        concerns around and any recommendations regarding use of force, interactions with
                        people experiencing mental illness, complaint investigations, and racial justice.
                        Strategies and recommendations developed to ensure greater public outreach and
                        engagement, including opportunities for outreach to a broad cross-section of
                        community members, to inform PPB’s Community Engagement Plan, utilizing the
                        following procedure:

                           1. PCCEP shall consult with community members and hold at least two (2) public
                              hearings, to be completed within 180 days of PCCEP members being seated
                              (PCCEP’s town halls may be utilized for this purpose). To gather public input on
                              PPB’s outreach efforts and progress towards eliminating unconstitutional
                              disparate treatment, the hearings shall be held in locations to ensure that PPB
                              receives input from all parts of the Portland community. PCCEP shall review PPB’s
                              prior community outreach efforts to contribute strategies to the development of
                              a new Community Engagement Plan.

                           2. PCCEP shall meet at least quarterly with the Director of the City’s Office of Equity
                              and Human Rights and PPB’s Manager of Equity & Diversity, including a review of
                              PPB’s current Racial Equity Plan, and evaluate PPB’s ongoing efforts to
                              implement that plan.


                           3. PCCEP shall suggest for inclusion in the Community Engagement Plan strategies
                              to ensure greater public outreach and engagement, including opportunities for


               3
                Should COCL decline to combine its quarterly town halls with PCCEP’s town halls, the COCL may hold
               separate town halls for community feedback, with staff support from the City.



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                          outreach to a broad cross-section of community members. The parties recognize
                          that meaningful public engagement involves the ability of community members
                          to affect policies, practices, and PPB culture, thereby improving outcomes and
                          eliminating unconstitutional actions.

                      4. PCCEP may also provide information to the PPB on other areas related to
                         meaningful community engagement and outreach to contribute to the
                         development of the Community Engagement Plan. The Plan will specify how to
                         integrate community values and problem-oriented policing principles into PPB’s
                         management, policies and procedures.

                      5. PCCEP will spend the first year gathering information from the public and
                         compiling recommendations for PPB’s Community Engagement Plan.
                         Recommendations shall be submitted to PPB within one year of PCCEP members
                         being seated.

                      6. The Chief’s Office shall consult with the PCCEP and shall consider and utilize to
                         the extent practicable PCCEP’s recommendations in developing and
                         implementing the Community Engagement Plan. The Chief’s Office shall present
                         the final proposed Community Engagement Plan (with implementation timeline)
                         to the PCCEP for its final review and comment within 45 days of receiving PCCEP’s
                         recommendations. The recommended Community Engagement Plan shall be
                         considered by the City Council in a public hearing, leading to the Council’s
                         adoption of the Plan after review and amendments if indicated.


            The PCCEP shall meet at least twice per year with the Chief, the Police Commissioner, PPB
            Precinct Commanders, PPB Neighborhood Response Teams, and a representative of the Office
            of Neighborhood Involvement Crime Prevention to assess and solicit comment on PPB’s
            activities in regards to community outreach, engagement, and problem-solving policing. The
            PCCEP shall also provide the opportunity for public comment at any town hall and roundtable
            meetings to keep open lines of communication with the public at- large. The PCCEP may also
            invite testimony from other City bodies, including but not limited to PCoD, BHUAC, TAC, HRC,
            CRC and the citizen members of the PRB.




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                   ATTACHMENT 1: PARAGRAPH 191 – ROLES AND RESPONSBILITIES

           YELLOW = Academic Director
           BLUE = Captain
           GREEN = Both

          Academic Director                            Shared                                Captain
      •   Lesson plan final approval        •    Instructor Selection            •     FTEP and recruit officer
      •   Forecasting/scheduling of the     •    DPSST coordination                    assignments
          yearly training calendar          •    FTEP and recruit officers       •     EAP
      •   Needs assessment and              •    Budget                          •     Armory and equipment
          surveys (analyst supervision)     •    Wellness programs                     management
      •   Instructor                        •    Patrol Procedures Patrol        •     Facility use management
          development/training                   Vehicle, Operations, Control          (internal and external users)
      •   FTEP and recruit officers              Tactics, Firearms program       •     Patrol Procedures Patrol
          training                          •    Sworn and non-sworn                   Vehicle, Operations, Control
      •   Ensure training adheres to             performance evaluations               Tactics, Firearms program
          policy                            •    Community academy                     assignments
      •   Procedural Justice program        •    Leadership program              •     Community academy
      •   Patrol Procedures Patrol                                                     assignments
                                            •    Officer involved shooting
          Vehicle, Operations, Control           reviews                         •     Cadet program coordination
          Tactics, Firearms program         •    Satellite instructor schools    •     Satellite instructor school
          training                                                                     assignments
                                            •    Training Advisory Council
      •   Community academy training             (TAC)
      •   Advanced academy                  •    PRB advisory member
      •   Supervisor in-service
      •   Inservice
      •   Outside training approval
      •   Approval of PPB training
          provided outside the Training
          Division
      •   Learning Management System
      •   Video Production unit
      •   PS3 training
      •   Able Program
      •   CIT/ECIT training
      •   Satellite instructor schools
          training
      •   Return to work training for
          members who have been on
          extended leave




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